               Case 06-10725-gwz                         Doc 682-8                 Entered 06/15/06 23:55:42                      Page 1 of 42



In re                USA Commercial Mortgage Company                           ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                          (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                           Mailing Address               Loan Name                 Unremitted Principal
        Robert M. Ebinger, an unmarried man                                        812 South 6th Street       Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Las Vegas, NV 89101
        Robert M. Lampert Trustee of the Pulmonary Associates Profit Sharing Plan 2024 Winter Wind            Roam Development Group                            $1,164.97
        #002 for the Benefit of Robert M. Lampert dated 01/01/03                   Las Vegas, NV 89134
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self Employed        200 Rainbow Dr #10236      Cabernet                                        $15,000.00
        Retirement Account                                                         Livingston, TX 77399
        Robert R. Rodriguez, an unmarried man                                      2809 Easy St               Preserve at Galleria, LLC                          $200.10
                                                                                   Placerville, CA
                                                                                   95667
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust dated         P.O. Box 911209            Bay Pompano Beach                               $12,951.80
        5/22/01                                                                    St. George, UT
                                                                                   84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust dated         P.O. Box 911209            Del Valle Isleton                                 $2,753.64
        5/22/01                                                                    St. George, UT
                                                                                   84791
        Robert S. Louis and Rose M. Louis, Trustees of The Robert S. Louis and     5814 Engstrom Dr           Oak Shores II                                   $10,238.91
        Rose M. Louis Family Revocable Living Trust dated 4/22/05                  Riverbank, CA
                                                                                   95367
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living Trust     2128 Red Dawn Sky St       Beau Rivage Homes/$8,000,000                       $116.78
        dated 6/11/92                                                              Las Vegas, NV
                                                                                   89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living Trust     2128 Red Dawn Sky St       Roam Development Group                            $1,164.97
        dated 6/11/92                                                              Las Vegas, NV
                                                                                   89134
        Robert Swedelson Trustee of the Swedelson Family Trust dated 12/23/92      2086 King Mesa             Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Henderson, NV 89012
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T Chylak & 261 Fredricksburg Rd            Amesbury/Hatters Point                           $1,359.49
        Barbara M Chylak Family Trust dated 10/30/90                               Gardnerville, NV
                                                                                   89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T Chylak & 261 Fredricksburg Rd            Roam Development Group                            $1,164.97
        Barbara M Chylak Family Trust dated 10/30/90                               Gardnerville, NV
                                                                                   89460
        Robert T. Fort and Julie A. Fort, Trustees of the Fort Living Trust, dated 7931 E Coronado Rd         Bay Pompano Beach                               $25,903.59
        5/17/04                                                                    Scottsdale, AZ
                                                                                   85257
        Robert W. Browne & Muriel L. Browne Trustees of the Browne 1990            700 Keele Drive            Amesbury/Hatters Point                           $2,718.99
        Family Trust dated 6/11/90                                                 Reno, NV
                                                                                   89509
        Robert W. Hill, a married man, dealing with his sole & separate property   4900 San Timoteo Ave NW    Preserve at Galleria, LLC                          $800.39
                                                                                   Albuquerque, NM
                                                                                   87114
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family Trust dtd    73487 Purslane             Bay Pompano Beach                               $12,951.80
        04/19/95                                                                   Palm Desert, CA
                                                                                   92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family Trust dtd    73487 Purslane             Roam Development Group                            $1,164.97
        04/19/95                                                                   Palm Desert, CA
                                                                                   92260
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 4/11/05      414 Morning Glory Rd       Universal Hawaii                                $28,804.73
                                                                                   St Marys, GA
                                                                                   31558
        Roberta J. Lycett, a single woman                                          2806 Otsego Drive          Amesbury/Hatters Point                             $742.26
                                                                                   Oak Hill, VA
                                                                                   20171
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham Family         1460 Twinridge Road        Bay Pompano Beach                               $38,855.38
        Trust dated 10/26/78                                                       Santa Barbara, CA
                                                                                   93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham Family         1460 Twinridge Road        Del Valle Isleton                               $11,014.52
        Trust dated 10/26/78                                                       Santa Barbara, CA
                                                                                   93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham Family         1460 Twinridge Road        Roam Development Group                            $2,329.94
        Trust dated 10/26/78                                                       Santa Barbara, CA
                                                                                   93111




SCHEDULES                                                                          Exhibit F-1                                                               PAGE 71
                Case 06-10725-gwz                         Doc 682-8                  Entered 06/15/06 23:55:42                        Page 2 of 42



In re                USA Commercial Mortgage Company                             ,                                                Case No. 06-10725-LBR
                                       Debtor                                                                                              (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                 Loan Name                 Unremitted Principal
        Robin B. Graham Trustee of the Graham Family Marital Trust B dated         1460 Twinridge Road            Brookmere/Matteson $27,050,000                       $0.01
        2/13/97                                                                    Santa Barbara, CA
                                                                                   93111
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse Family Trust 355 East 1100 South              Cabernet                                        $11,538.46
                                                                                   Mapleton, UT
                                                                                   84664
        Rodney G. Huppi & Virginia M. Huppi Trustees of the Huppi Trust dated 378 Odin Place                      Amesbury/Hatters Point                           $2,718.98
        1/30/92                                                                    Pleasant Hill, CA
                                                                                   94523
        Rodney L. Roloff & Sharyn A. Roloff Trustees of the R & S Roloff Trust     1319 Stony Brook Lane          Preserve at Galleria, LLC                          $560.27
        dated 9/20/03                                                              Pleasanton, CA
                                                                                   94566
        Roger C. Phillips and Joann Phillips, Trustees of The Roger and Joann      7132 Oakcreek Drive            Preserve at Galleria, LLC                          $560.27
        Phillips Revocable 2001 Trust                                              Stockton, CA
                                                                                   95207
        Roger L. Ghormley & Frances L. Ghormley, husband & wife, as joint          2770 Harbor Hills Lane         Roam Development Group                            $1,164.97
        tenants with right of survivorship                                         Las Vegas, NV 89117
        Roger L. Janssen, a widower                                                16600 92nd Ave. N, #324        Amesbury/Hatters Point                           $3,942.54
                                                                                   Maple Grove, MN
                                                                                   55311
        Roger N. Havekost, a married man dealing with his sole & separate property 204 N Blue Ridge Trail         Bay Pompano Beach                               $12,951.80
                                                                                   Horseshoe Bay, TX
                                                                                   78657
        Roger N. Havekost, a married man dealing with his sole & separate property 204 N Blue Ridge Trail         Roam Development Group                            $1,164.97
                                                                                   Horseshoe Bay, TX
                                                                                   78657
        Roger Najarian & Janice Najarian Trustees of The Najarian Family           8320 Sedona Sunrise Dr         Bay Pompano Beach                               $12,951.80
        Revocable Living Trust dated 7/9/04                                        Las Vegas, NV
                                                                                   89128
        Roger Noorthoek, an unmarried man                                          13910 Northwest Passage #106   Amesbury/Hatters Point                             $679.74
                                                                                   Marina Del Rey, CA 90292
        Roger Noorthoek, an unmarried man                                          13910 Northwest Passage #106   Bay Pompano Beach                               $12,951.80
                                                                                   Marina Del Rey, CA 90292
        Roger Noorthoek, an unmarried man                                          13910 Northwest Passage #106   Beastar, LLC                                    $21,792.24
                                                                                   Marina Del Rey, CA 90292
        Rolf Tschudi and Louise Tschudi, Trustees of the Rolf Tschudi and Louise 2320 15th Ave.                   Roam Development Group                            $3,494.91
        Tschudi 1989 Revocable Trust dated 8/22/89                                 San Francisco, CA 94116
        Ron L. Moskowitz                                                           4724 Mascagni St               Amesbury/Hatters Point                             $679.74
                                                                                   Ventura, Ca 93003
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint tenants      50 Snyder Way                  Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                 Sparks, NV
                                                                                   89431
        Ronald A. Johnson and Janice Burgarello Trustees of the Jeffrey S. Johnson 50 Snyder Way                  Roam Development Group                            $1,164.97
        Trust dated 1/10/1993                                                      Sparks, NV
                                                                                   89431
        Ronald A. Johnson Trustee of the C. I. B. B., Inc. Pension Plan            50 Snyder Way                  Roam Development Group                            $1,164.97
                                                                                   Sparks, NV
                                                                                   89431
        Ronald C. Busk Trustee of the Ronald C. Busk Separate Property Trust       10624 S Eastern Avenue A161    Amesbury/Hatters Point                             $679.74
        dated 3/1/01                                                               Henderson, NV 89052
        Ronald D. Kiel, Trustee of the Ronald D. Kiel Trust dated 6/2/93           700 Marker Ln                  Roam Development Group                            $1,164.97
                                                                                   Lovelock, NV 89419
        Ronald D. Powell and Jane A. Powell, Trustees of the Powell Family Trust 4820 W Hidden Valley Dr          Amesbury/Hatters Point                           $1,484.53
        dated 09/01/05                                                             Reno, NV
                                                                                   89502
        Ronald Douglas Neal, a married man, dealing with his sole and separate     22853 Boxwood Lane             Oak Shores II                                   $10,238.91
        property                                                                   Saugus, CA
                                                                                   91390
        Ronald F. Ryan and Mary A. Ryan, husband and wife as joint tenants with 217 Pancho Via Dr                 The Gardens, LLC Timeshare                        $1,699.89
        the right of survivorship                                                  Henderson, NV
                                                                                   89012
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint tenants with 32158 Beachlake Lane            Del Valle Isleton                                 $5,507.26
        right of survivorship                                                      Westlake Village, CA
                                                                                   91361




SCHEDULES                                                                            Exhibit F-1                                                                 PAGE 72
               Case 06-10725-gwz                         Doc 682-8                 Entered 06/15/06 23:55:42                  Page 3 of 42



In re                USA Commercial Mortgage Company                           ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                          (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                   Creditor Name                                            Mailing Address              Loan Name                  Unremitted Principal
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint tenants with 32158 Beachlake Lane        Roam Development Group                            $1,164.97
        right of survivorship                                                     Westlake Village, CA
                                                                                  91361
        Ronald Gene Brown & Jagoda Brown, husband & wife, as joint tenants with P O Box 7006                  Beau Rivage Homes/$8,000,000                       $437.96
        right of survivorship                                                     Menlo Park, CA
                                                                                  94026
        Ronald Goldman & Barbara Goldman, Trustees of the Goldman Family          1717 Montana Avenue         Bay Pompano Beach                               $25,903.59
        Trust dated 10/29/93                                                      Santa Monica, CA 90403
        Ronald J. Anthony & Nadine Anthony Trustees of The Anthony Family         1717 Pepper Street          Freeway 101                                     $41,666.67
        Living Trust                                                              Burbank, CA
                                                                                  91505
        Ronald K. Montesano Trustee for the benefit of The Underpass Trust        5121 Big River Ave          Oak Shores II                                   $10,238.91
                                                                                  Las Vegas, NV
                                                                                  89130
        Ronald K. Peters Trustee of the Peters Family Trust dated 7/22/00         531 Cambrian Way            Roam Development Group                            $1,164.97
                                                                                  Danville, CA
                                                                                  94526
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in common 4928 Wind Hill Court West        Amesbury/Hatters Point                           $1,359.49
                                                                                  Ft Worth, TX
                                                                                  76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in common 4928 Wind Hill Court West        Bay Pompano Beach                               $25,903.59
                                                                                  Ft Worth, TX
                                                                                  76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in common 4928 Wind Hill Court West        Beau Rivage Homes/$8,000,000                       $145.99
                                                                                  Ft Worth, TX
                                                                                  76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in common 4928 Wind Hill Court West        Universal Hawaii                                $57,609.45
                                                                                  Ft Worth, TX
                                                                                  76179
        Ronald M. Addy & Priscilla K. Addy, husband & wife, as joint tenants with P. O. Box 9550              Bay Pompano Beach                               $12,951.80
        right of survivorship                                                     Bend, OR
                                                                                  97708
        Ronald Norman Cazier & Karen Rae Cazier Trustees of the Ronald Norman 3053 S Sweetgum Way             Amesbury/Hatters Point                             $842.89
        Cazier & Karen Rae Cazier Family Trust dated 3/9/00                       St George, UT 84790
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R. Carter &    6508 Anasazi NE             Bay Pompano Beach                               $12,951.80
        Leslie A. Carter Revocable Trust dated 10/24/91                           Albuquerque, NM
                                                                                  87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R. Carter &    6508 Anasazi NE             Freeway 101                                     $41,666.67
        Leslie A. Carter Revocable Trust dated 10/24/91                           Albuquerque, NM
                                                                                  87111
        Ronnie McLemore & Peggy McLemore, husband & wife, as joint tenants        307 Wind Ridge Road         Roam Development Group                            $1,164.97
        with right of survivorship                                                Palestine, TX
                                                                                  75801
        Ronnie McLemore & Peggy McLemore, husband & wife, as joint tenants        307 Wind Ridge Road         The Gardens, LLC Timeshare                        $1,699.89
        with right of survivorship                                                Palestine, TX
                                                                                  75801
        Ronnie McLemore & Peggy McLemore, husband & wife, as joint tenants        307 Wind Ridge Road         Universal Hawaii                                $28,804.73
        with right of survivorship                                                Palestine, TX
                                                                                  75801
        Rosalie Allen Morgan Trustee of the Rosalie Allen Morgan Trust dated      6869 Eagle Wing Circle      Bay Pompano Beach                               $12,951.80
        1/31/03                                                                   Sparks, NV
                                                                                  89436
        Rosalind L. Stark Trustee of the Stark Family Trust dated 4/2/84          10905 Clarion Lane          Bay Pompano Beach                               $12,951.80
                                                                                  Las Vegas, NV
                                                                                  89134
        Rosanne L. Clark, a single woman                                          2350 High Terrace Dr        Freeway 101                                     $41,666.67
                                                                                  Reno, NV 89509
        Ross Deller, Sr., an unmarried man                                        1469 Harmony Hill Drive     Roam Development Group                            $2,795.92
                                                                                  Henderson, NV 89014
        Roy M. Stephen & Carol J. Stephen Trustees of the Stephen Family Trust    1214 W Yucca Circle         Amesbury/Hatters Point                           $2,039.24
        dated 3/22/84                                                             St George, UT 84790
        RoyceG. Jenkins, an unmarried man                                         2021 Fresno Road            Bay Pompano Beach                               $25,903.59
                                                                                  Plano, TX
                                                                                  75074




SCHEDULES                                                                          Exhibit F-1                                                               PAGE 73
                Case 06-10725-gwz                         Doc 682-8                  Entered 06/15/06 23:55:42                      Page 4 of 42



In re                USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                           (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Ruby M. Hill, Trustee of The Ruby M. Hill Family Trust dated December      877 E March Ln #377          Preserve at Galleria, LLC                         $1,360.66
        12, 1992                                                                   Stockton, CA
                                                                                   95207
        Ruby Simon & Evie Simon                                                    8728 Castle View Ave         Amesbury/Hatters Point                             $326.28
                                                                                   Las Vegas, NV
                                                                                   89129
        Ruby Simon, a single woman                                                 8728 Castle View Ave         Amesbury/Hatters Point                          $12,207.07
                                                                                   Las Vegas, NV
                                                                                   89129
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of Winkler        10000 Rossbury Place         Amesbury/Hatters Point                             $679.74
        Family Trust dated 3/13/86                                                 Los Angeles, CA
                                                                                   90064
        Rudolf Winkler & Carmel Winkler Trustees for the benefit of Winkler        10000 Rossbury Place         Roam Development Group                            $2,329.94
        Family Trust dated 3/13/86                                                 Los Angeles, CA
                                                                                   90064
        Rudy Leroy McTee & Sharon Kaye McTee Trustees of the R & S McTee           P O Box 2480                 Freeway 101                                     $41,666.67
        1995 Trust dated 4/20/95                                                   Gardnerville, NV
                                                                                   89410
        Rudy Leroy McTee & Sharon Kaye McTee Trustees of the R & S McTee           P O Box 2480                 The Gardens, LLC $2,425,000                     $10,309.28
        1995 Trust dated 4/20/95                                                   Gardnerville, NV
                                                                                   89410
        Rulon D. Robison Trustee of the Rulon D. Robison Profit Sharing Plan       9100 Eagle Hills Dr          Amesbury/Hatters Point                           $1,359.49
                                                                                   Las Vegas, NV
                                                                                   89134
        Russell J. Zuardo & Betty J. Zuardo Trustees of the Russell J. Zuardo &    1296 Highforest Avenue       Bay Pompano Beach                               $25,903.59
        Betty J. Zuardo Community Property Trust Restated 5/5/00                   Las Vegas, NV
                                                                                   89123
        Russell J. Zuardo & Betty J. Zuardo Trustees of the Russell J. Zuardo &    1296 Highforest Avenue       Oak Shores II                                   $10,238.91
        Betty J. Zuardo Community Property Trust Restated 5/5/00                   Las Vegas, NV
                                                                                   89123
        Russell M. Blood & Judy A. Blood Trustees of the Blood Family Trust        140 Brownstone Drive         Amesbury/Hatters Point                           $1,359.49
        dated 5/18/99                                                              Mooresville, NC 28117
        Russell S. Quinn & Marion M. Quinn Trustees of the Quinn Family Trust 2293 Sutter View Lane             Oak Shores II                                   $11,262.80
        dated 1/11/00                                                              Lincoln, CA
                                                                                   95648
        Ruth A. Errington Trustee of the Ruth A. Errington Living Trust dated      1146 Buckbrush Rd            Roam Development Group                            $1,164.97
        11/22/04                                                                   Minden, NV
                                                                                   89423
        Ruth A. Kuester Trustee of the Ruth A. Kuester Trust dated 1/29/91         1013 Anita Ave               Amesbury/Hatters Point                             $815.70
                                                                                   Big Bear City, CA
                                                                                   92314
        Ruth A. Kuester Trustee of the Ruth A. Kuester Trust dated 1/29/91         1013 Anita Ave               Beau Rivage Homes/$8,000,000                        $49.63
                                                                                   Big Bear City, CA
                                                                                   92314
        Ruth D. Carriere Trustee of the Ruth D. Carriere Family Trust dated 8/5/96 13147 Parkway Rd             Amesbury/Hatters Point                             $951.65
                                                                                   Pound, WI
                                                                                   54161
        Ruth E. Rudd Trustee of the Ruth E. Rudd Revocable Trust dated 11/11/92 1519 Deerford Circle            Amesbury/Hatters Point                             $815.70
                                                                                   Las Vegas, NV 89110
        Ruth M. Lataille, a married woman dealing with her sole & separate         543 Granville Road           Amesbury/Hatters Point                             $679.74
        property                                                                   Hartland, CT
                                                                                   6027
        Ryan S. Shane                                                              P O Box 1078                 Amesbury/Hatters Point                             $380.66
                                                                                   Dayton, NV
                                                                                   89403
        S & P Davis Limited Partnership, a Texas Partnership                       104 Van Buren Court          Amesbury/Hatters Point                           $1,359.49
                                                                                   Colleyville, TX
                                                                                   76034
        S & P Davis Limited Partnership, a Texas Partnership                       104 Van Buren Court          Bay Pompano Beach                               $25,903.59
                                                                                   Colleyville, TX
                                                                                   76034
        S & P Davis Limited Partnership, a Texas Partnership                       104 Van Buren Court          Del Valle Isleton                                 $5,507.26
                                                                                   Colleyville, TX
                                                                                   76034




SCHEDULES                                                                            Exhibit F-1                                                               PAGE 74
                Case 06-10725-gwz                          Doc 682-8                   Entered 06/15/06 23:55:42                     Page 5 of 42



In re                 USA Commercial Mortgage Company                              ,                                                Case No. 06-10725-LBR
                                        Debtor                                                                                               (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                              Mailing Address                 Loan Name                 Unremitted Principal
        S & P Davis Limited Partnership, a Texas Partnership                        104 Van Buren Court             Roam Development Group                            $2,329.94
                                                                                    Colleyville, TX
                                                                                    76034
        S. A. Hanes Trustee of the S.A. Hanes Profit Sharing Plan                   P. O. Box 10054                 Roam Development Group                            $1,164.97
                                                                                    Zephyr Cove, NV 89448
        Sack Family Partners, LP                                                    415 L'Ambiance Drive PH-D       The Gardens, LLC Timeshare                        $3,399.78
                                                                                    Longboat Key, FL
                                                                                    34228
        Sally Mark                                                                  7673 Granville Drive            Amesbury/Hatters Point                             $679.74
                                                                                    Tamarack, FL
                                                                                    33321
        Salvatore Siciliano                                                         2711 Briggs Avenue              Amesbury/Hatters Point                          $13,595.01
                                                                                    Bronx, NY
                                                                                    10458
        Samuel P. Walls & Nancy A. Walls Trustees of the Walls Living Trust dated 2443 Klein Road                   Beastar, LLC                                    $21,792.24
        7/7/03                                                                      San Jose, CA 95148
        Samuels Foundation, Inc., a Nevada corporation                              198 Concho Drive                Brookmere/Matteson $27,050,000                  $26,256.00
                                                                                    Reno, NV
                                                                                    89521
        Sandra Hollander Trustee of the Sandra I. Hollander Revocable Trust         10533 Santo Marco Ct            Amesbury/Hatters Point                             $679.74
                                                                                    Las Vegas, NV 89135
        Sandra M. Mogg Trustee of the Sandra M. Mogg Revocable Living Trust         485 Annet St                    Bay Pompano Beach                               $12,951.80
        dated 4/9/04                                                                Henderson, NV
                                                                                    89052
        Sandra M. Mogg Trustee of the Sandra M. Mogg Revocable Living Trust         485 Annet St                    Beastar, LLC                                    $21,792.24
        dated 4/9/04                                                                Henderson, NV
                                                                                    89052
        Sapourn Legacy, LLC, a Florida limited liability company                    286 Lansing Island Drive        Bay Pompano Beach                               $38,855.38
                                                                                    Satellite Beach, FL
                                                                                    32937
        Sarah R. Roberts Trustee of the Roberts Family Trust dated 4/28/04          520 Clearview Dr                Bay Pompano Beach                               $12,951.80
                                                                                    Los Gatos, CA 95032
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul Family Trust     74075 Kokopelli Circle          Amesbury/Hatters Point                             $679.74
                                                                                    Palm Desert, CA 92260
        Saul Roisentul & Ilene Roisentul Trustees of the Roisentul Family Trust     74075 Kokopelli Circle          Roam Development Group                            $1,164.97
                                                                                    Palm Desert, CA 92260
        Scatena                                                                     34 W 9th                        Amesbury/Hatters Point                           $1,631.40
                                                                                    Reno, NV
                                                                                    89503
        Schwartz & Earp Joint Venture                                               609 North Laurel                Roam Development Group                            $1,164.97
                                                                                    El Paso, TX 79903
        Scott A. Kusich, a married man dealing with his sole & separate property    2720 Preston Ct                 Lake Helen Partners                                 $98.02
                                                                                    Mountain View, CA
                                                                                    94040
        Scott J. Elowitz, a married man dealing with his sole and separate property 200 Daniels Way, Ste 210        Bay Pompano Beach                               $25,903.59
                                                                                    Freehold, NJ
                                                                                    7728
        Scott Machock & Heidi Machock, Husband and wife as joint tenants with 32792 Rosemont Drive                  Bay Pompano Beach                               $19,427.69
        right of survivorship                                                       Trabuco Canyon, CA
                                                                                    92679
        Scott Machock & Heidi Machock, Husband and wife as joint tenants with 32792 Rosemont Drive                  Preserve at Galleria, LLC                          $560.27
        right of survivorship                                                       Trabuco Canyon, CA
                                                                                    92679
        Scott Wilgar & Gail Wilgar, husband & wife                                  9585 Stange Avenue              Amesbury/Hatters Point                             $815.70
                                                                                    Las Vegas, NV 89129
        Sean P. Cunningham & Shelley R. Cunningham, husband & wife, as joint 4616 Providence Lane                   Beau Rivage Homes/$8,000,000                       $145.99
        tenants with right of survivorship                                          Las Vegas, NV
                                                                                    89107
        Shahriar Zavosh, an unmarried man                                           3800 S Cantabria Circle #1042   Bay Pompano Beach                               $12,951.80
                                                                                    Chandler, AZ
                                                                                    85248
        Sharon D. Tarpinian Trustee of the Sharon D. Tarpinian Revocable Living 327 Jacaranda Dr                    Bay Pompano Beach                               $19,427.69
        Trust dated 12/17/2002                                                      Danville , CA
                                                                                    94506




SCHEDULES                                                                              Exhibit F-1                                                                 PAGE 75
                Case 06-10725-gwz                          Doc 682-8                   Entered 06/15/06 23:55:42                       Page 6 of 42



In re                 USA Commercial Mortgage Company                              ,                                               Case No. 06-10725-LBR
                                        Debtor                                                                                              (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                              Mailing Address                Loan Name                 Unremitted Principal
        Sharon D. Tarpinian Trustee of the Sharon D. Tarpinian Revocable Living      327 Jacaranda Dr              Beastar, LLC                                    $32,688.36
        Trust dated 12/17/2002                                                       Danville , CA
                                                                                     94506
        Sharon Peterson for Benefit of the Peterson Family Trust                     798 San Remo Way              Bay Pompano Beach                               $25,903.58
                                                                                     Boulder City, NV
                                                                                     89005
        Sharon R. Fitzgerald, a married woman dealing with her sole & separate       24 Carrington Way             Bay Pompano Beach                               $25,903.59
        property                                                                     Reno, NV 89506
        Sharon R. Fitzgerald, a married woman dealing with her sole & separate       24 Carrington Way             Roam Development Group                            $1,164.97
        property                                                                     Reno, NV 89506
        Sharon S. Lazar, a single woman                                              705 Kendall Lane              Amesbury/Hatters Point                             $679.74
                                                                                     Boulder City, NV 89005
        Sharon S. Lazar, a single woman                                              705 Kendall Lane              Bay Pompano Beach                               $12,951.80
                                                                                     Boulder City, NV 89005
        Sheila E. Rothberg, a married woman dealing with her sole & separate         21 Randolph Drive             Bay Pompano Beach                               $25,903.59
        property                                                                     Dix Hills, NY
                                                                                     11746
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon & Marion 9505 City Hill Court                  Del Valle Isleton                                 $5,507.26
        G. Portman Trust dated 11/01/85                                              Las Vegas, NV
                                                                                     89134
        Sheldon Portman & Marion G. Portman Trustees of the Sheldon & Marion 9505 City Hill Court                  Roam Development Group                            $4,659.87
        G. Portman Trust dated 11/01/85                                              Las Vegas, NV
                                                                                     89134
        Sherry Lynne, a single woman                                                 29657 Strawberry Hill Drive   Del Valle Isleton                                 $2,753.64
                                                                                     Agoura Hills, CA 91301
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & Hannah 8109 Sapphire Bay                     Bay Pompano Beach                               $12,951.80
        K. Peress Trust dated 4/17/01                                                Las Vegas, NV
                                                                                     89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & Hannah 8109 Sapphire Bay                     Beastar, LLC                                    $21,792.24
        K. Peress Trust dated 4/17/01                                                Las Vegas, NV
                                                                                     89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & Hannah 8109 Sapphire Bay                     Del Valle Isleton                                 $2,753.64
        K. Peress Trust dated 4/17/01                                                Las Vegas, NV
                                                                                     89128
        Shimon Peress & Hannah Peress Trustees of the Shimon Peress & Hannah 8109 Sapphire Bay                     Roam Development Group                            $1,164.97
        K. Peress Trust dated 4/17/01                                                Las Vegas, NV
                                                                                     89128
        Shirley M. Collins Trustee as her sole & separate property under the Collins 1975 Snowberry Court          Amesbury/Hatters Point                             $815.70
        Family Trust dated 1/29/93                                                   Carlsbad, CA
                                                                                     92009
        Shirley M. Collins Trustee as her sole & separate property under the Collins 1975 Snowberry Court          Bay Pompano Beach                               $19,427.69
        Family Trust dated 1/29/93                                                   Carlsbad, CA
                                                                                     92009
        Shirley M. Reinesch Trustee of the Shirley M. Reinesch Revocable Living P O Box 582                        Amesbury/Hatters Point                             $679.74
        Trust dated 11/1/99                                                          Sisters, OR
                                                                                     97759
        Shu-Chih Tsai, a married man dealing withhis sole & separate property        1716 S Monterey Street        Amesbury/Hatters Point                           $8,428.91
                                                                                     Alhambra, CA
                                                                                     91801
        Sierra West, Inc., a Nevada corporation                                      P O Box 8346                  Amesbury/Hatters Point                             $679.74
                                                                                     Incline Village, NV
                                                                                     89452
        Sierra West, Inc., a Nevada corporation                                      P O Box 8346                  Bay Pompano Beach                               $12,951.80
                                                                                     Incline Village, NV
                                                                                     89452
        Sierra West, Inc., a Nevada corporation                                      P O Box 8346                  Beau Rivage Homes/$8,000,000                        $72.99
                                                                                     Incline Village, NV
                                                                                     89452
        Sigfried Baker transfer on death to Annee Nounna                             8057 Lands End                The Gardens, LLC Timeshare                        $1,699.89
                                                                                     Las Vegas, NV
                                                                                     89117
        Sigmund L. Tomczak & Diana Tomczak Trustees of the Tomczak Family 8507 S Harmon Extension Rd               Amesbury/Hatters Point                           $2,039.24
        Trust dated 4/25/83                                                          Spokane, WA
                                                                                     99223




SCHEDULES                                                                              Exhibit F-1                                                                PAGE 76
                Case 06-10725-gwz                         Doc 682-8                  Entered 06/15/06 23:55:42                        Page 7 of 42



In re                USA Commercial Mortgage Company                             ,                                                Case No. 06-10725-LBR
                                        Debtor                                                                                             (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                 Loan Name                 Unremitted Principal
        Sloan D. Wilson, an unmarried man, & Edna P. Wilson, a married woman,        2655 Polk St 404             Beau Rivage Homes/$8,000,000                        $72.99
        as joint tenants with right of survivorship                                  San Francisco, CA 94109
        Smith Barney/CGM Custodian For Richard G. Adams IRA                          6990 E Thirsty Cactus Lane   Cabernet                                        $11,538.46
                                                                                     Scottsdale, AZ
                                                                                     85262
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Bay Pompano Beach                               $12,951.80
                                                                                     Incline Village, NV
                                                                                     89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Del Valle Isleton                               $11,014.49
                                                                                     Incline Village, NV
                                                                                     89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Lake Helen Partners                                $980.25
                                                                                     Incline Village, NV
                                                                                     89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Oak Shores II                                   $15,358.36
                                                                                     Incline Village, NV
                                                                                     89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Preserve at Galleria, LLC                          $800.39
                                                                                     Incline Village, NV
                                                                                     89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Roam Development Group                            $1,164.97
                                                                                     Incline Village, NV
                                                                                     89451
        Sovereign Capital Advisors, LLC, a Nevada limited liability company          930 Tahoe Blvd Ste 802-550   Universal Hawaii                                $57,609.45
                                                                                     Incline Village, NV
                                                                                     89451
        Spectrum Capital, LLC, a California limited liability company                6167 Jarvis Ave 304          Amesbury/Hatters Point                            $1,087.60
                                                                                     Newark, CA
                                                                                     94560
        Spectrum Capital, LLC, a California limited liability company                6167 Jarvis Ave 304          Oak Shores II                                   $10,238.91
                                                                                     Newark, CA
                                                                                     94560
        Spectrum Capital, LLC, a California limited liability company                6167 Jarvis Ave 304          Universal Hawaii                                $28,804.73
                                                                                     Newark, CA
                                                                                     94560
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants with right 9900 Fox Springs Drive        Amesbury/Hatters Point                            $1,359.49
        of survivorship                                                              Las Vegas, NV
                                                                                     89117
        Stanley Belnap & Gloria Belnap, husband & wife, as joint tenants with right 9900 Fox Springs Drive        Roam Development Group                            $2,329.94
        of survivorship                                                              Las Vegas, NV
                                                                                     89117
        Stanley C. Germain & Dorothy Germain, husband & wife, as joint tenants P O Box 307                        Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                   Montrose, CA
                                                                                     91021
        Stanley C. Germain & Dorothy Germain, husband & wife, as joint tenants P O Box 307                        Roam Development Group                            $1,164.97
        with right of survivorship                                                   Montrose, CA
                                                                                     91021
        Stanley Halfter & Dolores Halfter, Husband & Wife                            2505 Desert Glen Drive       Oak Shores II                                   $20,477.82
                                                                                     Las Vegas, NV
                                                                                     89134
        Stanley L Hunewill and Janet Bliss Hunewill, Trustees of the J. & S.         200 Hunewill Lane            Bay Pompano Beach                               $12,951.80
        Bliss/Hunewill 2004 Trust dated 8/27/04                                      Wellington, NV
                                                                                     89444
        Stanley M. Novara Trustee under The Stanley M Novara Family Trust dated 1010 Industrial Road Space 60     Bay Pompano Beach                               $12,951.80
        11/12/04                                                                     Boulder City, NV 89005
        Stanley Ziskin & Mary C. Ziskin, husband & wife, as joint tenants with right 5258 Europa Drive Apt F      Roam Development Group                            $1,164.97
        of survivorship                                                              Boynton Beach, FL 33437
        Stater Family Ltd Partnership                                                5760 Topaz Street            Bay Pompano Beach                               $32,379.49
                                                                                     Las Vegas, NV 89120
        Stater Family Ltd Partnership                                                5760 Topaz Street            The Gardens, LLC Timeshare                        $1,699.89
                                                                                     Las Vegas, NV 89120
        Stefan R. Cavin Trustee of the Stefan R. Cavin Revocable Living Trust        508 N Clearpoint             Del Valle Isleton                                 $2,753.64
        dated 05/26/2004                                                             Eagle, ID
                                                                                     83616




SCHEDULES                                                                            Exhibit F-1                                                                 PAGE 77
                Case 06-10725-gwz                             Doc 682-8              Entered 06/15/06 23:55:42                      Page 8 of 42



In re                 USA Commercial Mortgage Company                            ,                                              Case No. 06-10725-LBR
                                          Debtor                                                                                         (If known)




                                                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                    EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                      Creditor Name                                           Mailing Address               Loan Name                 Unremitted Principal
        Stella P. Ciadella Trustee of the Ciadella Living Trust dated 2/8/99       650 S Town Ctr Dr            Roam Development Group                            $3,494.91
                                                                                   Bldg 29 Apt #1114
                                                                                   Las Vegas, NV 89144
        Stellar Innovations, Inc., a Texas corporation                             P O Box 292                  Amesbury/Hatters Point                             $679.74
                                                                                   Belton, TX 76513
        Stephanie J. Snyder, an unmarried woman                                    P O Box 11707                Cabernet                                        $11,538.46
                                                                                   Zephyr Cove, NV 89448
        Stephen C. Irwin, an unmarried man                                         P. O. Box 7885               Lake Helen Partners                                 $98.02
                                                                                   Mammoth Lakes, CA
                                                                                   93546
        Stephen L. Hawley & Sidney A. Hawley Trustees of the Hawley Family         4075 Losee Road              The Gardens, LLC Timeshare                        $5,099.67
        Trust dated 8/15/96                                                        N. Las Vegas, NV 89030
        Stephen Lincoln & Patricia Lincoln Trustees of the Stephen & Patricia      P. O. Box 2441               The Gardens, LLC Timeshare                        $4,079.74
        Lincoln Trust dated 8/21/03                                                Carson City, NV 89702
        Stephen P. Hansen and Sandra M. Hansen, husband and wife, as joint         1014 Appleton Rd             Oak Shores II                                   $10,238.91
        tenants with the right of survivorship                                     Simi Valley, CA
                                                                                   93065
        Stephen S. Senfeld Trustee of the Stephen S. Senfeld Living Trust dated    16300 Golf Club Rd #807      Amesbury/Hatters Point                           $1,359.49
        12/27/89                                                                   Weston, FL
                                                                                   33326
        Stephen V. Kowalski & Maria T. Sutherland, husband and wife as joint       29202 Posey Way              The Gardens, LLC $2,425,000                     $10,309.28
        tenants with the right of survivorship                                     Rancho Palos Verdes, CA
                                                                                   90275
        Sterling Trust Company Custodian For Betty R. Morris IRA                   18532 Spicer Lake Court      Amesbury/Hatters Point                             $149.55
                                                                                   Reno, NV
                                                                                   89506
        Sterling Trust Company Custodian For Larry E. Laub IRA                     18532 Spicer Lake Court      Amesbury/Hatters Point                             $247.43
                                                                                   Reno, NV
                                                                                   89506
        Steve H. Miller & Karen L. Miller, husband & wife, as joint tenants with   7527 E Passaro               Universal Hawaii                                $28,810.89
        right of survivorship                                                      Scottsdale, AZ 85262
        Steve Lindquist Trustee of the Steve Lindquist Charitable Remainder Unit 43-524 Calle Espada            Universal Hawaii                                $28,804.73
        Trust dated 9/9/96                                                         La Quinta, CA 92253
        Steve Spector, an unmarried man                                            458 B East 7th Street        Preserve at Galleria, LLC                          $200.10
                                                                                   Reno, NV 89512
        Steven B. Berlin                                                           2510 Bayview Ave             The Gardens, LLC $2,425,000                     $10,309.28
                                                                                   Wantagh, NY
                                                                                   11793
        Steven Barker, an unmarried man                                            496 Brockway Road            Del Valle Isleton                                 $2,753.64
                                                                                   Hopkinton, NH 3229
        Steven J. Duesing and Deborah P. Duesing, trustees of the 1989 Duesing     1701 Golden Oak Drive        Oak Shores II                                   $35,836.18
        Family Trust dated 1/31/89                                                 Las Vegas, NV
                                                                                   89117
        Steven K. Anderson Trustee of the Steven K. Anderson Family Trust dated 1024 Nawkee Drive               Copper Sage Commerce Center, LLC                $28,600.58
        6/30/94                                                                    N Las Vegas, NV 89031
        Steven K. Anderson Trustee of the Steven K. Anderson Family Trust dated 1024 Nawkee Drive               Freeway 101                                     $41,666.67
        6/30/94                                                                    N Las Vegas, NV 89031
        Steven Melvin Terry and Margaret Worthen Terry Trustees of the Steven M. 113 Worthen Circle             Bay Pompano Beach                               $77,710.80
        & Margaret W. Terry Trust Dated March 31, 1995                             Las Vegas, NV
                                                                                   89145
        Stewart Karlinsky and Hilary Karlinsky, husband and wife, as joint tenants 55 Hallmark Circle           Roam Development Group                            $1,164.97
        with the right of survivorship                                             Menlo Park, CA 94025
        Stuart M. Rosenstein & Deborah H. Rosenstein, husband and wife as joint 10 Heathrow Court               Bay Pompano Beach                               $25,903.59
        tenants with rights of survivorship                                        Marlboro, NJ 7746
        Susan Cousins Harley Trustee of the Cousins Family Trust dated 11/21/94 6554 Cotsfield Ave              Amesbury/Hatters Point                             $815.70
                                                                                   Las Vegas, NV
                                                                                   89139
        Susan F. Criste & Francis M. Criste, wife & husband, as joint tenants with 1406 Palm Ave.               Bay Pompano Beach                               $12,951.80
        the right of survivorship                                                  San Mateo, CA
                                                                                   94412
        Susan M. Mack, an unmarried woman & Kelly Cooper, an unmarried man P O Box 123                          Freeway 101                                     $62,166.67
        as joint tenants with right of survivorship                                Underwood, WA
                                                                                   98651




SCHEDULES                                                                            Exhibit F-1                                                               PAGE 78
               Case 06-10725-gwz                         Doc 682-8                  Entered 06/15/06 23:55:42                  Page 9 of 42



In re                USA Commercial Mortgage Company                            ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                           (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address              Loan Name                  Unremitted Principal
        Suzanne Brehmer, a single woman                                          1235 White Avenue             Amesbury/Hatters Point                           $4,595.12
                                                                                 Grand Junction, CO
                                                                                 81501
        Suzanne L. Arbogast, an unmarried woman                                  1005 W Buffington St          Bay Pompano Beach                               $12,951.80
                                                                                 Upland, CA
                                                                                 91784
        Suzanne L. Hudson, a single woman, and Carolyn J. Chrzastek, a single    1540 Candelero Dr.            The Gardens, LLC Timeshare                        $1,699.89
        woman as joint tenants with right of survivorship                        Walnut Creek, CA
                                                                                 94598
        Suzanne Nichols, an unmarried woman                                      2561 Seascape Drive           Amesbury/Hatters Point                             $380.66
                                                                                 Las Vegas, NV 89123
        Sven-Eric Levin & Linda Levin Co-Trustees of the Sven-Eric & Linda Levin 8000 Castle Pines Avenue      Universal Hawaii                                $57,609.45
        1994 Trust dated 04/22/94                                                Las Vegas, NV 89113
        Sydney J. Siemens Trustee of the Sydney J. Siemens 1997 Revocable Trust 652 E Valerio Street           Amesbury/Hatters Point                           $1,359.49
        dated 5/23/97                                                            Santa Barbara, CA
                                                                                 93103
        Sylvia M. Good Successor Trustee under the Sylvia M. Good Survivor's     610 Cole Place                Oak Shores II                                   $10,238.91
        Trust established under the Sam Good Family Trust dated 6/25/86 as       Beverly Hills, CA 90210
        amended & restated 3/14/91
        T. Claire Harper Trustee of the Harper Family Trust dated 2/28/84        541 West 2nd St               Bay Pompano Beach                               $12,951.80
                                                                                 Reno, NV
                                                                                 89503
        T. Claire Harper Trustee of the Harper Family Trust dated 2/28/84        541 West 2nd St               Universal Hawaii                                $28,804.73
                                                                                 Reno, NV
                                                                                 89503
        Tara Sindler, dealing with her sole and separate property                2112 Plaza Del Fuentes        Amesbury/Hatters Point                             $543.80
                                                                                 Las Vegas, NV 89102
        Taylor Samuels Trustee of the Samuels 1999 Trust                         198 Concho Drive              Bay Pompano Beach                               $25,903.59
                                                                                 Reno, NV
                                                                                 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                         198 Concho Drive              Beastar, LLC                                    $21,792.24
                                                                                 Reno, NV
                                                                                 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                         198 Concho Drive              Beau Rivage Homes/$8,000,000                       $145.99
                                                                                 Reno, NV
                                                                                 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                         198 Concho Drive              Oak Shores II                                   $10,238.91
                                                                                 Reno, NV
                                                                                 89521
        Taylor Samuels Trustee of the Samuels 1999 Trust                         198 Concho Drive              Roam Development Group                            $1,164.97
                                                                                 Reno, NV
                                                                                 89521
        Teri E. Nelson, a single woman                                           465 Puesta Del Sol            Lake Helen Partners                                 $98.02
                                                                                 Arroyo Grande, CA
                                                                                 93420
        Teri L. Melvin, a single woman                                           2704 Chokecherry Way          Bay Pompano Beach                               $25,903.59
                                                                                 Henderson, NV 89014
        Teri L. Melvin, a single woman                                           2704 Chokecherry Way          Roam Development Group                            $2,329.94
                                                                                 Henderson, NV 89014
        Terry A. Zimmerman Trustee of the Terry Audbrey Zimmerman Living         2274 Trafalgar Court          Bay Pompano Beach                               $12,951.80
        Trust dated 9/4/90                                                       Henderson, NV
                                                                                 89014
        Terry Bombard Trustee of the Terry Bombard 1998 Trust dated 1/23/98      3570 W Post Road              Bay Pompano Beach                               $25,903.59
                                                                                 Las Vegas, NV
                                                                                 89118
        Terry Helms Trustee of the Terry Helms Living Trust dated 11/11/94       809 Upland Blvd               Oak Shores II                                  $204,778.16
                                                                                 Las Vegas, NV 89107
        Terry Markwell Trustee of theTerry Markwell Profit Sharing Plan & Trust 12765 Silver Wolf Rd           Bay Pompano Beach                               $12,951.80
                                                                                 Reno, NV
                                                                                 89511
        Terry P. O'Rourke & Nettie Jo O'Rourke, husband & wife, as joint tenants 4308 Cicada Way               Beau Rivage Homes/$8,000,000                        $72.99
        with right of survivorship                                               Las Vegas, NV
                                                                                 89121




SCHEDULES                                                                           Exhibit F-1                                                               PAGE 79
              Case 06-10725-gwz                         Doc 682-8               Entered 06/15/06 23:55:42                        Page 10 of 42



In re                USA Commercial Mortgage Company                            ,                                                Case No. 06-10725-LBR
                                       Debtor                                                                                             (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address                 Loan Name                 Unremitted Principal
        TGBA Properties                                                            6223 Buffalo Run              Copper Sage Commerce Center, LLC                $17,875.36
                                                                                   Littleton, CO
                                                                                   80125
        Thalia Nicholas Routsis Trustee of the Thalia Routsis Family Trust dated   P O Box 4311                  Bay Pompano Beach                               $12,951.80
        7/24/90                                                                    Incline Village, NV
                                                                                   89450
        Thalia Nicholas Routsis Trustee of the Thalia Routsis Family Trust dated   P O Box 4311                  Roam Development Group                            $1,164.97
        7/24/90                                                                    Incline Village, NV
                                                                                   89450
        The Wild Water Limited Partnership, a Nevada limited partnership           P O Box 9288                  Del Valle Isleton                                    $0.02
                                                                                   Incline Village, NV
                                                                                   89452
        The Wild Water Limited Partnership, a Nevada limited partnership           P O Box 9288                  Oak Shores II                                   $10,238.91
                                                                                   Incline Village, NV
                                                                                   89452
        The Wild Water Limited Partnership, a Nevada limited partnership           P O Box 9288                  Roam Development Group                            $1,164.97
                                                                                   Incline Village, NV
                                                                                   89452
        The Wild Water Limited Partnership, a Nevada limited partnership           P O Box 9288                  Universal Hawaii                                $28,804.73
                                                                                   Incline Village, NV
                                                                                   89452
        Thomas A. Stewart & Tiffani J. Stewart, Husband & Wife as Joint Tenants 330 Glistening Cloud Drive       Beau Rivage Homes/$8,000,000                      $1,350.62
        with right of survivorship                                                 Henderson, NV
                                                                                   89012
        Thomas B. Harrison & Marguerite F. Harrison Trustees of the Harrison       930 Dorcey Drive              Freeway 101                                     $83,333.33
        Family Trust dated 7/27/99                                                 Incline Village, NV
                                                                                   89451
        Thomas B. Harrison & Marguerite F. Harrison Trustees of the Harrison       930 Dorcey Drive              Universal Hawaii                                $40,326.62
        Family Trust dated 7/27/99                                                 Incline Village, NV
                                                                                   89451
        Thomas C. Eastland and Christiana Eastland, Trustees of the Eastland Joint 172 Belle Ave.                Roam Development Group                            $1,164.97
        Living Trust dated 10/8/01                                                 Pleasant Hill, CA 94523
        Thomas D. Lynch President of The Thomas D. Lynch Family Foundation         1011 Armadillo Court          Copper Sage Commerce Center, LLC                $17,875.36
                                                                                   Henderson, NV
                                                                                   89015
        Thomas D. Lynch Trustee of The Thomas D. Lynch 1995 Revocable Living 1011 Armadillo Ct                   Roam Development Group                            $4,659.87
        Trust                                                                      Henderson, NV
                                                                                   89015
        Thomas Di Jorio, an unmarried man                                          30249 N 49 Place              Amesbury/Hatters Point                             $679.74
                                                                                   Cave Creek, AZ
                                                                                   85331
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the Bishofberger 2176 Tiger Willow               Amesbury/Hatters Point                             $679.74
        Char. Rem. Trust UAD 11/3/94                                               Henderson, NV
                                                                                   89012
        Thomas E. Bishofberger & Betty Bishofberger Trustees of the Bishofberger 2176 Tiger Willow               Freeway 101                                     $41,666.67
        Char. Rem. Trust UAD 11/3/94                                               Henderson, NV
                                                                                   89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the             2176 Tiger Willow Drive       Amesbury/Hatters Point                             $679.74
        Bishofberger Restated Family Trust U/A 9/8/95                              Henderson, NV
                                                                                   89012
        Thomas E. Bishofberger & Betty T. Bishofberger Trustees of the             2176 Tiger Willow Drive       Beau Rivage Homes/$8,000,000                        $72.99
        Bishofberger Restated Family Trust U/A 9/8/95                              Henderson, NV
                                                                                   89012
        Thomas E. Clarke, Transfer on Death to Michael T. Clarke                   11316 East Persimmon Avenue   Bay Pompano Beach                               $12,951.80
                                                                                   Mesa, AZ
                                                                                   85212
        Thomas E. Page, a single man                                               7888 Rye Canyon Dr.           Beastar, LLC                                    $21,792.24
                                                                                   Las Vegas, NV 89123
        Thomas H. Gloy, a married man dealing with his sole and separate property P. O. Box 4497                 Cabernet                                        $23,076.92
                                                                                   Incline Village, NV
                                                                                   89450
        Thomas J. Kapp & Cynthia S. Roher Trustees of T. & C. Kapp Family Trust 3861 Hildebrand Lane             Roam Development Group                            $4,659.87
                                                                                   Las Vegas, NV
                                                                                   89121




SCHEDULES                                                                           Exhibit F-1                                                                 PAGE 80
              Case 06-10725-gwz                          Doc 682-8               Entered 06/15/06 23:55:42                          Page 11 of 42



In re                USA Commercial Mortgage Company                             ,                                                  Case No. 06-10725-LBR
                                       Debtor                                                                                                (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                   Loan Name                 Unremitted Principal
        Thomas John Farano, an unmarried man                                       24 Van Keuren Ave                Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Bound Brook, NJ
                                                                                   8805
        Thomas L. Halvorson & Joanne Halvorson, husband & wife, as joint tenants 3295 Palm Grove Dr                 Freeway 101                                     $41,666.67
        with right of survivorship                                                 Lake Havasu, AZ
                                                                                   86404
        Thomas Maruna and Sayuri Maruna, husband and wife, as joint tenants with 7 Calle Alamitos                   Bay Pompano Beach                               $12,951.80
        the right of survivorship                                                  Rancho Santa Margarita, CA
                                                                                   92688
        Thomas N. Smith & Deborah L. Bertossa, husband & wife, as joint tenants P O Box 589                         Oak Shores II                                   $10,238.91
        with right of survivorship                                                 New Meadows, ID 83654
        Thomas T. Harrington, a married man dealing with his sole and separate     160 Norwegian Ave. Apt B         Roam Development Group                            $1,747.45
        property                                                                   Modesto, CA
                                                                                   95350
        Thomas Turner & Judy K. Turner Trustees of the T.J. Trust dated 7/24/97 6425 Meadow Country Dr              Roam Development Group                            $1,164.97
                                                                                   Reno, NV 89509
        Tiki Investment Enterprises LP, a Nevada Limited Partnership               2578 Highmore Ave                Amesbury/Hatters Point                             $815.70
                                                                                   Henderson, NV
                                                                                   89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership               2578 Highmore Ave                Beau Rivage Homes/$8,000,000                    $10,321.02
                                                                                   Henderson, NV
                                                                                   89052
        Tiki Investment Enterprises LP, a Nevada Limited Partnership               2578 Highmore Ave                Preserve at Galleria, LLC                          $600.29
                                                                                   Henderson, NV
                                                                                   89052
        Tim J. Clark & Tracy E. Clark, husband & wife, as joint tenants with right 1161 W. Sunrise Place            Preserve at Galleria, LLC                          $600.29
        of survivorship                                                            Chandler, AZ
                                                                                   85248
        Timothy F. Burrus & Joann Ortiz-Burrus, husband & wife, as joint tenants 3880 W Hidden Valley Dr            Copper Sage Commerce Center, LLC                $35,750.73
        with right of survivorship                                                 Reno, NV
                                                                                   89502
        Tina K.L. Low Wood Trustee of the Wood Family Trust dated 9/29/98          7195 Lighthouse Ln               Universal Hawaii                                $28,804.73
                                                                                   Reno, NV 89511
        Tito A. Castillo, an unmarried man & Jairo A. Castillo, an unmarried man, 13390 Parkside Terrace            Lake Helen Partners                                $196.05
        as joint tenants with right of survivorship                                Cooper City, FL
                                                                                   33330
        Tito A. Castillo, an unmarried man & Jairo A. Castillo, an unmarried man, 13390 Parkside Terrace            Oak Shores II                                   $17,406.14
        as joint tenants with right of survivorship                                Cooper City, FL
                                                                                   33330
        Tobias Von Euw Trustee of the Tobias Von Euw Revocable Trust dated         10405 Shoalhaven Dr              Beau Rivage Homes/$8,000,000                        $72.99
        11/23/04                                                                   Las Vegas, NV 89134
        Tobias Von Euw Trustee of the Tobias Von Euw Revocable Trust dated         10405 Shoalhaven Dr              Oak Shores II                                   $10,238.91
        11/23/04                                                                   Las Vegas, NV 89134
        Toby A. Gunning, an unmarried man                                          7245 Brockway Court              The Gardens, LLC Timeshare                        $1,699.89
                                                                                   Reno, NV
                                                                                   89523
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust dated           1882 Colvin Avenue               Del Valle Isleton                                 $2,753.64
        9/11/95                                                                    St Paul, MN
                                                                                   55116
        Toby Lee Rosenblum Trustee of the Toby Lee Rosenblum Trust dated           1882 Colvin Avenue               The Gardens, LLC Timeshare                        $1,699.89
        9/11/95                                                                    St Paul, MN
                                                                                   55116
        Todd Charles Maurer, a single man                                          3100 Chino Hills Pkwy Apt 1411   Cabernet                                         $6,923.08
                                                                                   Chino Hills, CA 91709
        Todd Charles Maurer, a single man                                          3100 Chino Hills Pkwy Apt 1411   Preserve at Galleria, LLC                          $200.10
                                                                                   Chino Hills, CA 91709
        Todd Davis, an unmarried man                                               322 W 57th St Apt 12R            Bay Pompano Beach                               $25,903.59
                                                                                   New York, NY
                                                                                   10019
        Tony Chamoun & Carmen Chamoun, husband & wife, as joint tenants with 1935 Parkside Circle South             Bay Pompano Beach                               $12,951.80
        right of survivorship                                                      Boca Raton, FL 33486
        Tony Suarez, an unmarried man                                              16 Bland Street                  Bay Pompano Beach                               $25,903.59
                                                                                   Emerson, NJ 7630




SCHEDULES                                                                            Exhibit F-1                                                                   PAGE 81
              Case 06-10725-gwz                          Doc 682-8                Entered 06/15/06 23:55:42                      Page 12 of 42



In re                 USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                              Mailing Address               Loan Name                 Unremitted Principal
        Tony Suarez, an unmarried man                                             16 Bland Street                Roam Development Group                            $1,164.97
                                                                                  Emerson, NJ 7630
        Tony T. Macey, an unmarried man                                           18055 NW Tillamook             Roam Development Group                            $1,164.97
                                                                                  Portland, OR
                                                                                  97229
        Traci Landig, a married woman dealing with her sole & separate property & 654 Moonlight Stroll St        Amesbury/Hatters Point                             $679.74
        Jacqueline Thurmond, a married woman dealing with her sole & separate     Henderson, NV
        property, as joint tenants with right of survivorship                     89015
        Tripp Enterprises Inc., a Nevada corporation                              250 Greg Street                Bay Pompano Beach                               $25,903.59
                                                                                  Sparks, NV
                                                                                  89431
        Tripp Enterprises Inc., a Nevada corporation                              250 Greg Street                Universal Hawaii                                $57,609.45
                                                                                  Sparks, NV
                                                                                  89431
        Troy Allen Cox, a widower                                                 6483 Rosemount Ave             Roam Development Group                            $2,516.34
                                                                                  Las Vegas, NV 89156
        Unique Concept Design, Inc.                                               1134 Blitzen Dr                Roam Development Group                            $2,329.94
                                                                                  Henderson, NV 89012
        Universal Management, Inc., a Nevada Corporation                          14375 White Star Lane          Bay Pompano Beach                               $19,168.65
                                                                                  Valley Center, CA
                                                                                  92082
        Universal Management, Inc., a Nevada Corporation                          14375 White Star Lane          Del Valle Isleton                               $11,014.49
                                                                                  Valley Center, CA
                                                                                  92082
        Universal Management, Inc., a Nevada Corporation                          14375 White Star Lane          Oak Shores II                                   $10,238.91
                                                                                  Valley Center, CA
                                                                                  92082
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                Amesbury/Hatters Point                          $86,748.80
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                Bay Pompano Beach                               $38,855.40
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                Colt Gateway                                    $84,325.51
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                Interstate Commerce Center Phase II                $966.79
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                Lake Helen Partners                             $38,518.69
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                Oak Shores II                                    $2,047.78
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital Diversified Trust Deed Fund                                   4484 S Pecos Rd                The Gardens, LLC Timeshare                      $10,709.31
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital First Trust Deed Fund                                         4484 S Pecos Rd                Amesbury/Hatters Point                           $8,224.77
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital First Trust Deed Fund                                         4484 S Pecos Rd                Bay Pompano Beach                               $99,728.85
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital First Trust Deed Fund                                         4484 S Pecos Rd                Beastar, LLC                                   $179,568.04
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital First Trust Deed Fund                                         4484 S Pecos Rd                Brookmere/Matteson $27,050,000                    $6,634.03
                                                                                  Las Vegas, NV
                                                                                  89121
        USA Capital First Trust Deed Fund                                         4484 S Pecos Rd                Del Valle Isleton                               $11,014.50
                                                                                  Las Vegas, NV
                                                                                  89121




SCHEDULES                                                                             Exhibit F-1                                                               PAGE 82
              Case 06-10725-gwz                         Doc 682-8               Entered 06/15/06 23:55:42                     Page 13 of 42



In re                USA Commercial Mortgage Company                           ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                          (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                           Mailing Address               Loan Name                 Unremitted Principal
        USA Capital First Trust Deed Fund                                           4484 S Pecos Rd           Oak Shores II                                   $46,075.09
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Capital First Trust Deed Fund                                           4484 S Pecos Rd           Roam Development Group                          $14,993.15
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Capital First Trust Deed Fund                                           4484 S Pecos Rd           The Gardens, LLC $2,425,000                      $7,591.07
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Capital First Trust Deed Fund                                           4484 S Pecos Rd           The Gardens, LLC Timeshare                      $61,196.08
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Commercial Mortgage Company                                             4484 S Pecos Rd           Amesbury/Hatters Point                           $1,413.88
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Commercial Mortgage Company                                             4484 S Pecos Rd           Preserve at Galleria, LLC                           $40.02
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Commercial Mortgage Company                                             4484 S Pecos Rd           The Gardens, LLC $2,425,000                     $20,037.79
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Commercial Real Estate Group                                            4484 S Pecos Rd           Amesbury/Hatters Point                           $1,577.02
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Commercial Real Estate Group                                            4484 S Pecos Rd           Copper Sage Commerce Center, LLC                  $8,937.69
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Commercial Real Estate Group                                            4484 S Pecos Rd           Oak Shores II                                      $204.78
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Investment Partners                                                     4484 S Pecos Rd           Amesbury/Hatters Point                           $1,543.91
                                                                                    Las Vegas, NV
                                                                                    89121
        USA Investment Partners                                                     4484 S Pecos Rd           Beau Rivage Homes/$8,000,000                       $376.13
                                                                                    Las Vegas, NV
                                                                                    89121
        V. R. Marrone & Reba F. Marrone Trustees of the V. R. & Reba F. Marrone 8975 430 Lawrence Welk Dr     Oak Shores II                                   $10,238.91
        Trust dated 10/22/01                                                        Escondido, CA
                                                                                    92026
        V. R. Marrone & Reba F. Marrone Trustees of the V. R. & Reba F. Marrone 8975 430 Lawrence Welk Dr     Universal Hawaii                                $28,804.73
        Trust dated 10/22/01                                                        Escondido, CA
                                                                                    92026
        Valerie Callahan, an unmarried woman, & Charles R. Maraden, an              12585 Creek Crest Drive   Lake Helen Partners                                 $98.02
        unmarried man, as joint tenants with right of survivorship                  Reno, NV
                                                                                    89511
        Valley Investments Corp., a Nevada company                                  3131 West Meade Ave A1    Beau Rivage Homes/$8,000,000                        $72.99
                                                                                    Las Vegas, NV
                                                                                    89102
        Valon R. Bishop Trustee of the Valon R. Bishop Trust dated 5/7/03           P.O. Box 50041            Copper Sage Commerce Center, LLC                $26,813.05
                                                                                    Reno, NV
                                                                                    89513
        Varnell O. Padgett & Dorothy A. Padgett Trustees of the Padgett Family      1520 Sky Valley Dr #106   Amesbury/Hatters Point                             $543.80
        Trust dated 3/25/03                                                         Reno, NV
                                                                                    89523
        Vernon K. Chun & Kerri J. Chun Trustees of the Chun Living Trust dated 9 Auburn Crest Court           Preserve at Galleria, LLC                          $200.10
        2/17/98                                                                     Chico, CA 95973
        Veslav Orvin & Yelena V. Ilchuk, husband and wife as joint tenants with the 5817 Oak Place Court      Oak Shores II                                   $18,430.03
        right of survivorship                                                       Fair Oaks, CA
                                                                                    95628
        Victor Santiago, a single man                                               4604 Gretel Circle        Cabernet                                        $11,538.46
                                                                                    Las Vegas, NV
                                                                                    89102
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen Charitable     2837 Bluffpoint Drive     Amesbury/Hatters Point                           $1,359.49
        Trust dated 8/1/90                                                          Las Vegas, NV 89134




SCHEDULES                                                                          Exhibit F-1                                                               PAGE 83
               Case 06-10725-gwz                          Doc 682-8               Entered 06/15/06 23:55:42                              Page 14 of 42



In re                 USA Commercial Mortgage Company                             ,                                                      Case No. 06-10725-LBR
                                        Debtor                                                                                                    (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address                       Loan Name                 Unremitted Principal
        Virgil L. Birgen & La Donna F. Birgen Trustees of the Birgen Charitable  2837 Bluffpoint Drive                   Universal Hawaii                                $57,609.45
        Trust dated 8/1/90                                                       Las Vegas, NV 89134
        Virgil Leo Birgen & La Donna Frances Birgen Trustees of the Birgen       2837 Bluffpoint Drive                   Amesbury/Hatters Point                             $679.74
        Family Trust                                                             Las Vegas, NV 89134
        Virgil Leo Birgen & La Donna Frances Birgen Trustees of the Birgen       2837 Bluffpoint Drive                   Universal Hawaii                                $57,609.45
        Family Trust                                                             Las Vegas, NV 89134
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust dated    P O Box 6912                            Beau Rivage Homes/$8,000,000                       $291.90
        11/1/85                                                                  San Jose, CA
                                                                                 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust dated    P O Box 6912                            Del Valle Isleton                                 $9,362.31
        11/1/85                                                                  San Jose, CA
                                                                                 95150
        Walter E. Seebach Trustee of the Walter E. Seebach Living Trust dated    P O Box 6912                            Oak Shores II                                   $30,716.72
        11/1/85                                                                  San Jose, CA
                                                                                 95150
        Walter Klevay & Gail Klevay, husband & wife                              818 N Victoria Park Rd                  Beau Rivage Homes/$8,000,000                        $72.99
                                                                                 Fort Lauderdale, FL
                                                                                 33304
        Walter L. Gasper, Jr., an unmarried man                                  2140 Bush St. #1A                       Oak Shores II                                   $10,238.91
                                                                                 San Francisco , CA
                                                                                 94115
        Walter Musso & Barbara Musso Trustees of the Musso Living Trust dated 2535 Lupine Canyon Rd                      Roam Development Group                            $1,164.97
        11/30/92                                                                 P O Box 2566
                                                                                 Avila Beach, CA
                                                                                 93424
        Walter Musso & Barbara Musso Trustees of the Musso Living Trust dated 2535 Lupine Canyon Rd                      Universal Hawaii                                $34,565.66
        11/30/92                                                                 P O Box 2566
                                                                                 Avila Beach, CA
                                                                                 93424
        Wara LP, a Pennsylvania limited partnership                              2546 General Armistead Ave              Bay Pompano Beach                               $51,807.18
                                                                                 Valley Forge Business Center
                                                                                 Norristown, PA
                                                                                 19403
        Wara LP, a Pennsylvania limited partnership                              2546 General Armistead Ave              Roam Development Group                            $4,659.87
                                                                                 Valley Forge Business Center
                                                                                 Norristown, PA
                                                                                 19403
        Warren W. Tripp Trustee of the Tripp Enterprises, Inc. Restated Profit   250 Greg Street                         Bay Pompano Beach                               $25,903.59
        Sharing Plan                                                             Sparks, NV
                                                                                 89431
        Warren W. Tripp, a married man dealing with his sole & separate property 250 Greg Street                         Bay Pompano Beach                               $25,903.59
                                                                                 Sparks, NV
                                                                                 89431
        Warren W. Tripp, a married man dealing with his sole & separate property 250 Greg Street                         Universal Hawaii                                $57,609.45
                                                                                 Sparks, NV
                                                                                 89431
        Wayne A. Dutt & Cynthia Deann Dutt Trustees of the Wayne A. Dutt Trust 2929 Harbor Cove Dr                       Beau Rivage Homes/$8,000,000                       $291.90
                                                                                 Las Vegas, NV
                                                                                 89128
        Wayne A. Dutt & Cynthia Deann Dutt Trustees of the Wayne A. Dutt Trust 2929 Harbor Cove Dr                       Roam Development Group                            $4,659.87
                                                                                 Las Vegas, NV
                                                                                 89128
        Wayne Dotson Co., a Nevada company                                       P O Box 3663                            Beastar, LLC                                    $21,792.24
                                                                                 Incline Village, NV
                                                                                 89451
        Wayne Dotson Co., a Nevada company                                       P O Box 3663                            Universal Hawaii                                $28,804.73
                                                                                 Incline Village, NV
                                                                                 89451
        Wayne P. Tarr & Elizabeth G. Tarr, as joint tenants with right of        251 Western Drive                       Amesbury/Hatters Point                            $1,087.60
        survivorship                                                             Point Richmond, CA
                                                                                 94801
        Wendy E. Wolkenstein Trustee of the Wendy E. Wolkenstein Trust           2778 -J Sweetwater Springs Blvd # 103   Roam Development Group                            $1,397.97
                                                                                 Spring Valley, CA
                                                                                 91977




SCHEDULES                                                                             Exhibit F-1                                                                       PAGE 84
              Case 06-10725-gwz                          Doc 682-8             Entered 06/15/06 23:55:42                      Page 15 of 42



In re                 USA Commercial Mortgage Company                          ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                         (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                          Mailing Address               Loan Name                 Unremitted Principal
        Wesley L. Monroe & Jeannie M. Monroe, as joint tenants with right of      510 East Jackpine CT        Del Valle Isleton                               $11,014.49
        survivorship                                                              Spokane, WA
                                                                                  99208
        William A. Downey, married man dealing with his sole & separate property 3637 Larch Ave Suite 3       Amesbury/Hatters Point                           $1,903.30
                                                                                  South Tahoe, CA
                                                                                  96150
        William A. Downey, married man dealing with his sole & separate property 3637 Larch Ave Suite 3       Del Valle Isleton                                 $2,753.64
                                                                                  South Tahoe, CA
                                                                                  96150
        William A. Drago & Loraine A. Drago, husband & wife, as joint tenants     645 Sage Brush St           Amesbury/Hatters Point                           $2,718.99
        with right of survivorship                                                Portola, CA
                                                                                  96122
        William A. Drago & Loraine A. Drago, husband & wife, as joint tenants     645 Sage Brush St           Del Valle Isleton                                 $2,753.64
        with right of survivorship                                                Portola, CA
                                                                                  96122
        William Boyce II & Alice D. Boyce, husband & wife, as joint tenants with 3448 Monte Carlo Drive       Amesbury/Hatters Point                             $543.80
        right of survivorship                                                     Las Vegas, NV
                                                                                  89121
        William C. Eastland & Carol A. Eastland Trustees of the Eastland Family 2100 Mulberry Lane            Del Valle Isleton                                 $2,753.64
        Joint Living Trust dated 1/18/00                                          Placerville, CA 95667
        William C. Wallace II & Patricia M. Wallace, husband & wife, as joint     3851 Canyon Cove Dr.        Freeway 101                                     $41,666.67
        tenants with right of survivorship                                        Lake Havasu City, AZ
                                                                                  86404
        William C. Wallace II and Patrcia M. Wallace Trustees of the William      3851 Canyon Cove Dr.        Roam Development Group                            $1,164.97
        Clyde Wallace and Patrica Maxine Wallace Family Trust dated 7/20/2000 Lake Havasu , AZ
                                                                                  86404
        William C. Wallace, III & Anna Marie K. Wallace                           5620 Madras Street          Amesbury/Hatters Point                           $1,359.49
                                                                                  Carson City, NV
                                                                                  89704
        William D. Botton Trustee of the Botton Living Trust dated 11/17/00       9815 Sam Furr Rd # J115     Beau Rivage Homes/$8,000,000                        $72.99
                                                                                  Huntersville, NC
                                                                                  28078
        William D. Gardner and Patricia A. Gardner, husband and wife, as joint    42760 Glass Drive           Oak Shores II                                   $20,477.82
        tenants with the rights of survivorship                                   Bermuda Dunes, CA
                                                                                  92203
        William Daniel Carter Trustee of the W D Carter Trust dated 3/22/99       8170 54th Ave East          Bay Pompano Beach                               $38,855.38
                                                                                  Bradenton, FL
                                                                                  34211
        William Dupin & Penny Dupin, husband & wife, as joint tenants with right 545 Cole Circle              Bay Pompano Beach                               $12,951.80
        of survivorship                                                           Incline Village, NV
                                                                                  89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants with right 545 Cole Circle              Oak Shores II                                   $10,238.91
        of survivorship                                                           Incline Village, NV
                                                                                  89451
        William Dupin & Penny Dupin, husband & wife, as joint tenants with right 545 Cole Circle              Universal Hawaii                                $28,804.73
        of survivorship                                                           Incline Village, NV
                                                                                  89451
        William E. Buck & Eleanor F. Buck Co-Trustees of the W.E. Buck Family P. O. Box 5127                  Oak Shores II                                   $20,477.82
        Trust dated 7/2/87 & William E. Buck & Eleanor F. Buck General Partners Reno, NV
        of GRB Company                                                            89513
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt Trust dated 1471 Bear Creek Drive       Bay Pompano Beach                               $12,951.80
        6/18/93                                                                   Bishop, CA
                                                                                  93514
        William E. Schnadt & Janet E. Schnadt Trustees of the Schnadt Trust dated 1471 Bear Creek Drive       Cabernet                                         $5,769.23
        6/18/93                                                                   Bishop, CA
                                                                                  93514
        William G. McMurtrey and Janet L. McMurtrey, husband and wife as joint 79920 Kingston Drive           Bay Pompano Beach                               $12,951.80
        tenants with right of survivorship                                        Bermuda Dunes, CA 92203
        William G. McMurtrey and Janet L. McMurtrey, husband and wife as joint 79920 Kingston Drive           Roam Development Group                            $1,164.97
        tenants with right of survivorship                                        Bermuda Dunes, CA 92203
        William H. Favro & Carol M. Favro Trustees of the Favro Trust dated       8909 W Rocky Shore Drive    Amesbury/Hatters Point                             $679.74
        9/14/00                                                                   Las Vegas, NV
                                                                                  89117




SCHEDULES                                                                          Exhibit F-1                                                               PAGE 85
              Case 06-10725-gwz                          Doc 682-8               Entered 06/15/06 23:55:42                      Page 16 of 42



In re                USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                           (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        William H. Favro & Carol M. Favro Trustees of the Favro Trust dated      8909 W Rocky Shore Drive       Oak Shores II                                   $10,238.91
        9/14/00                                                                  Las Vegas, NV
                                                                                 89117
        William Harvey Trustee of the William F. Harvey OD, LTD PSP              815 South 7th                  Beau Rivage Homes/$8,000,000                        $72.99
                                                                                 Las Vegas, NV 89101
        William J. Buttram, a single man                                         1929 Davina Street             Bay Pompano Beach                               $25,903.59
                                                                                 Henderson, NV
                                                                                 89074
        William J. Hinson, Jr., an unmarried man                                 13305 Woodstock Drive          Roam Development Group                            $1,164.97
                                                                                 Nevada City, CA 95959
        William J. Oakey & Mary Jane Oakey, joint tenants with right of          21120 W Braxton Lane           Preserve at Galleria, LLC                          $200.10
        survivorship                                                             Plainfield, IL
                                                                                 60544
        William J. Rozak, Jr., an unmarried man                                  3928 Placita Del Lazo Street   Amesbury/Hatters Point                           $1,359.49
                                                                                 Las Vegas, NV 89120
        William L. Harper, a single man                                          375 River Flow Drive           Preserve at Galleria, LLC                          $400.19
                                                                                 Reno, NV
                                                                                 89523
        William L. McQuerry, Trustee of the McQuerry Family Trust dated 1/25/80 318 Singing Brook Circle        Oak Shores II                                   $10,238.91
                                                                                 Santa Rosa, CA
                                                                                 95409
        William L. Montgomery, Jr., an unmarried man                             630 Garfield                   Preserve at Galleria, LLC                          $968.47
                                                                                 Denver, CO
                                                                                 80206
        William Lukasavage & Joanne Lukasavage, husband & wife, as joint tenants 8641 Castle Hill Ave           Bay Pompano Beach                               $12,951.80
        with right of survivorship                                               Las Vegas, NV
                                                                                 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as joint tenants 8641 Castle Hill Ave           Beau Rivage Homes/$8,000,000                       $145.99
        with right of survivorship                                               Las Vegas, NV
                                                                                 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as joint tenants 8641 Castle Hill Ave           Del Valle Isleton                                 $2,753.64
        with right of survivorship                                               Las Vegas, NV
                                                                                 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as joint tenants 8641 Castle Hill Ave           Oak Shores II                                   $10,238.91
        with right of survivorship                                               Las Vegas, NV
                                                                                 89129
        William Lukasavage & Joanne Lukasavage, husband & wife, as joint tenants 8641 Castle Hill Ave           Roam Development Group                            $1,164.97
        with right of survivorship                                               Las Vegas, NV
                                                                                 89129
        William M. Bettencourt, Jr. and Joan E. Bettencourt, Trustees of the     52 Williams Dr.                Bay Pompano Beach                               $12,951.80
        Bettencourt Family Living Trust dated 9/3/97                             Moraga, CA
                                                                                 94556
        William M. Spangler & Jean A. Spangler, husband & wife, as joint tenants 711 Gordon Ave                 Amesbury/Hatters Point                             $679.74
        with right of survivorship                                               Reno, NV
                                                                                 89509
        William Moore & Judy Moore Trustees of the Moore Family Trust dated      1626 Indian Wells              Beau Rivage Homes/$8,000,000                        $72.99
        9/5/96                                                                   Boulder City, NV 89005
        William Moore & Judy Moore Trustees of the Moore Family Trust dated      1626 Indian Wells              Roam Development Group                            $2,329.94
        9/5/96                                                                   Boulder City, NV 89005
        William Otto Lurtz & Susie Alice Byrd-Lurtz Trustees of the Susie &      P.O. Box 49                    Oak Shores II                                   $10,238.91
        William Lurtz 1991 Trust dated 3/18/91                                   Glenbrook, NV 89413
        William Otto Lurtz & Susie Alice Byrd-Lurtz Trustees of the Susie &      P.O. Box 49                    Universal Hawaii                                $28,804.73
        William Lurtz 1991 Trust dated 3/18/91                                   Glenbrook, NV 89413
        William P. Austin & Mary Lee Austin, joint tenants with right of         453 Head Street                Beau Rivage Homes/$8,000,000                       $102.16
        survivorship                                                             Victoria, BC
        William R. Godfrey & Cynthia Godfrey, husband & wife as Joint Tenants 9520 Coral Way                    Bay Pompano Beach                                 $2,083.86
        with Right of Survivorship                                               Las Vegas, NV
                                                                                 89117
        William R. Godfrey and Cynthia J. Godfrey trustees of the William R. and 9520 Coral way                 Bay Pompano Beach                               $23,819.72
        Cynthia J. Godfrey Living Trust 2005                                     Las Vegas, NV
                                                                                 89117
        William R. Long                                                          93 Broken Rock Drive           Amesbury/Hatters Point                             $407.85
                                                                                 Henderson, NV
                                                                                 89074




SCHEDULES                                                                            Exhibit F-1                                                               PAGE 86
              Case 06-10725-gwz                        Doc 682-8              Entered 06/15/06 23:55:42                      Page 17 of 42



In re                USA Commercial Mortgage Company                          ,                                              Case No. 06-10725-LBR
                                      Debtor                                                                                          (If known)




                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                               EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                   Creditor Name                                           Mailing Address               Loan Name                 Unremitted Principal
        William R. Long                                                         93 Broken Rock Drive         Beau Rivage Homes/$8,000,000                       $116.74
                                                                                Henderson, NV
                                                                                89074
        William Richard Moreno, a married man as his sole & separate property   10016 Rolling Glen Court     Bay Pompano Beach                               $25,903.59
                                                                                Las Vegas, NV
                                                                                89117
        William Rizzo, an unmarried man                                         146 Triberg Court            Amesbury/Hatters Point                             $815.70
                                                                                Henderson, NV 89014
        William Thomas Younger & Lisa K. Younger, husband & wife, as joint      1746 Lake Street             Opaque/Mt. Edge $7,350,000                       $6,772.68
        tenants with right of survivorship                                      Huntington Beach, CA 92648
        Wilma Jean Thompson, an unmarried woman                                 12 Brewster Way              Roam Development Group                            $1,164.97
                                                                                Redlands, CA
                                                                                92373
        Wolf Dieter Voss & Claudia Voss Trustees of The Voss Family Trust Under 14 Via Ambra                 Oak Shores II                                   $20,477.82
        Trust dated 10/4/99                                                     Newport Beach, CA
                                                                                92657
        Wolfgang D. Daniel & Kathleen K. Daniel Trustees of the Daniel Family   P O Box 3929                 Preserve at Galleria, LLC                          $240.12
        Revocable Living Trust dated 5/30/90                                    Incline Village, NV
                                                                                89450
        Woods Family Trust, Robert D. Woods, Trustee                            1032 Paisley Ct              Amesbury/Hatters Point                            $2,990.89
                                                                                Sparks, NV
                                                                                89434
        Work Holdings Inc., an Arizona corporation                              317 E. Wildwood Drive        Preserve at Galleria, LLC                          $800.39
                                                                                Phoenix, AZ 85048
        World Links Group, LLC, a California limited liability company          2053 Columbus Way            The Gardens, LLC $2,425,000                     $10,309.28
                                                                                Vista, CA
                                                                                92081
        Zawacki, a California LLC                                               P.O. Box 5156                Preserve at Galleria, LLC                          $400.19
                                                                                Bear Valley, CA
                                                                                95223
        Zawacki, a California LLC                                               P.O. Box 5156                Roam Development Group                            $6,756.83
                                                                                Bear Valley, CA
                                                                                95223
        Zawacki, a California LLC                                               P.O. Box 5156                Universal Hawaii                                $57,609.45
                                                                                Bear Valley, CA
                                                                                95223


                                                                                                             TOTAL                                 $      28,060,995.56




SCHEDULES                                                                         Exhibit F-1                                                               PAGE 87
                    Case 06-10725-gwz              Doc 682-8         Entered 06/15/06 23:55:42                Page 18 of 42




  In re
          USA Commercial Mortgage Company                                                      Case No.
                                                                                                                 06-10725-LBR
                         Debtor                                                                                        (If known)

                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any time
share interests.

    State nature of debtor's interest in contract, i.e. "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee
of the lease.

    Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor
child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s
name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
    NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled
in the appropriate schedule of creditors.

      Check this box if debtor has no executory contracts or unexpired leases.

                                                                              DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,
                                                                               DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                              NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                   NUMBER OF ANY GOVERNMENT CONTRACT


                                                                               EQUIPMENT LEASE(S)
            201 WEST BIG BEAVER ROAD
            TROY, MI 48084
            3685 SAN FERNANDO ROAD PARTNERS, LP C/O                            LOAN AGREEMENT
            PARKER AND SOMMERS                                                 3685 SAN FERNANDO ROAD, LP
            505 NORTH BRAND BOULEVARD
            SUITE 810
            GLENDALE, CA 91203
            5055 COLLWOOD, LLC                                                 LOAN AGREEMENT
            4445 EASTGATE MALL                                                 5055 COLLWOOD, LLC
            SUITE 407
            SAN DIEGO, CA 92121
            5252 ORANGE, LLC                                                   LOAN AGREEMENT
            4445 EASTGATE MALL                                                 5252 ORANGE, LLC
            SUITE 407
            SAN DIEGO, CA 92121
            60TH STREET VENTURE, LLC                                           LOAN AGREEMENT
            4445 EASTGATE MALL                                                 60TH STREET VENTURE, LLC
            SUITE 407
            SAN DIEGO, CA 92121
            619 MAIN, LP                                                       LOAN AGREEMENT
            1300 POST OAK BLVD                                                 619 MAIN, LP
            SUITE 1875
            HOUSTON, TX 77057
            6425 GESS, LTD. A TEXAS LIMITED PARTNERSHIP                        LOAN AGREEMENT
            1300 POST OAK BOULEVARD                                            6425 GESS, LTD.
            SUITE 1875
            HOUSTON, TX 77056
            ABB BUSINESS FINANCE                                               EQUIPMENT LEASE(S)
            ONE RESEARCH DRIVE
            WESTBORO, MA 01581




                                                                                                                                    Page 1 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 19 of 42



        USA Commercial Mortgage Company                                               06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           AMERICAN EXPRESS BUSINESS FINANCE                 EQUIPMENT LEASE(S)
           CORPORATION
           600 TRAVIS STREET
           SUITE 1300
           HOUSTON, TX 77002
           AMERICAN EXPRESS BUSINESS FINANCE                 EQUIPMENT LEASE(S)
           CORPORATION
           800 TRAVIS STREET
           SUITE 1300
           HOUSTON, TX 77002
           ANCHOR B, LP                                      LOAN AGREEMENT
           1300 POST OAK BOULEVARD                           ANCHOR B, LP
           SUITE 1875
           HOUSTON, TX 77056
           ARAPAHOE LAND INVESTMENTS, LP                     LOAN AGREEMENT
           4 INVERNESS COURT EAST                            ARAPAHOE LAND INVESTMENTS, LP
           SUITE 250
           ENGLEWOOD, CO 80112
           ARAPAHOE LAND INVESTMENTS, LP                     SECURITY AGREEMENT
           4 INVERNESS COURT EAST                            ARAPAHOE LAND INVESTMENTS, LP
           SUITE 250
           ENGLEWOOD, CO 80112
           ASCOM HASLER LEASING / GE CAPITAL PROGRAM         EQUIPMENT LEASE(S)
           P.O. BOX 802585
           CHICAGO, IL 60680
           ASCOM HASLER/GE CAPITAL CORPORATION               EQUIPMENT LEASE(S)
           1010 THOMAS EDISON BLVD                           ASCOM MAILING MACHINE MODEL #220BS SERIAL #
           SW CEDAR RAPID, IA 52404                          400016055 ACCOUNT SCHEDULE # 4162481-001
           ASHBY FINANCIAL COMPANY, INC & R&D LAND           LOAN AGREEMENT
           INVESTORS, LLC                                    ASHBY FINANCIAL COMPANY, INC. & R&D LAND
           470 E. HARRISON ST.                               INVESTORS, LLC
           CORONA, CA 92879
           B&J INVESTMENTS, LLC                              LOAN AGREEMENT
           6454 EAST UNIVERSITY                              B&J INVESTMENTS
           SUITE 31
           MESA, AZ 85205
           B&J INVESTMENTS, LLC                              SECURITY AGREEMENT
           6454 EAST UNIVERSITY                              B&J INVESTMENTS
           SUITE 31
           MESA, AZ 85205
           BALBOA CAPITAL                                    EQUIPMENT LEASE(S)
           2010 MAIN STREET
           11TH FLOOR
           IRVINE, CA 92614




                                                                                                        Page 2 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 20 of 42



        USA Commercial Mortgage Company                                               06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           BARUSA, LLC                                       LOAN AGREEMENT
           7541 EADS AVENUE                                  BAURSA, LLC
           SUITE F
           LA JOLLA, CA 92037
           BARUSA, LLC                                       SECURITY AGREEMENT
           7541 EADS AVENUE                                  BAURSA, LLC
           SUITE F
           LA JOLLA, CA 92037
           BAY POMPANO BEACH, LLC                            LOAN AGREEMENT
           4800 N. FEDERAL HQY                               BAY POMPANO BEACH, LLC
           SUITE A205
           BOCA RATON, FL 33431
           BEAU RIVAGE HOMES FOR AMERICA, LLC                LOAN AGREEMENT
           ONE ODELL PLAZA                                   BEAU RIVAGE HOMES FOR AMERICA, LLC
           YONKERS, NY 10710
           BEAU RIVAGE HOMES FOR AMERICA, LLC                SECURITY AGREEMENT
           ONE ODELL PLAZA                                   BEAU RIVAGE HOMES FOR AMERICA, LLC
           YONKERS, NY 10710
           BINFORD MEDICAL DEVELOPERS, LLC                   LOAN AGREEMENT
           5200 E. 64TH STREET                               BINFORD MEDICAL DEVELOPERS, LLC
           INDIANAPOLIS, IN 46220
           BOISE/GOWAN 93 LLC                                SECURITY AGREEMENT
           8585 E. HARTFORD AVENUE                           BOISE/GOWAN 93 LLC
           SUITE 500
           SCOTTSDALE, AZ 85255
           BUNDY CANYON LAND DEVELOPMENT, LLC                LOAN AGREEMENT
           28475 OLD TOWN FRONT STREET                       BUNDY CANYON LAND DEVELOPMENT, LLC
           STE. D
           TEMECULA, CA 92590
           BUNDY CANYON LAND DEVELOPMENT, LLC                SECURITY AGREEMENT
           28475 OLD TOWN FRONT STREET                       BUNDY CANYON LAND DEVELOPMENT, LLC
           STE. D
           TEMECULA, CA 92590
           BUNDY CANYON LAND DEVELOPMENT, LLC                SECURITY AGREEMENT
           28475 OLD TOWN FRONT STREET                       BUNDY CANYON LAND DEVELOPMENT, LLC
           STE. D
           TEMECULA, CA 92590
           BUNDY CANYON LAND DEVELOPMENT, LLC                SECURITY AGREEMENT
           28475 OLD TOWN FRONT STREET                       BUNDY CANYON LAND DEVELOPMENT, LLC
           STE. D
           TEMECULA, CA 92590
           BUNDY CANYON LAND DEVELOPMENT, LLC                SECURITY AGREEMENT
           28475 OLD TOWN FRONT STREET                       BUNDY CANYON LAND DEVELOPMENT, LLC
           STE. D
           TEMECULA, CA 92590



                                                                                                       Page 3 of 17
                 Case 06-10725-gwz        Doc 682-8    Entered 06/15/06 23:55:42          Page 21 of 42



        USA Commercial Mortgage Company                                                    06-10725-LBR
In re                                                                      Case No.
                    Debtor                                                                     (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                               NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                    NUMBER OF ANY GOVERNMENT CONTRACT

           CABERNET HIGHLANDS, LLC                             LOAN AGREEMENT
           9460 DOUBLE R BOULEVARD                             CABERNET HIGHLANDS, LLC
           SUITE 200
           RENO, NV 89521
           CAPITAL LAND INVESTORS, LLC                         LOAN AGREEMENT
           100 EAST CORSON STREET                              CAPITAL LAND INVESTORS, LLC
           SUITE 200
           PASADENA, CA 91103
           CAPITAL LAND INVESTORS, LLC                         SECURITY AGREEMENT
           100 EAST CORSON STREET                              CAPITAL LAND INVESTORS, LLC
           SUITE 200
           PASADENA, CA 91103
           CAPITALWERKS, LLC                                   EQUIPMENT LEASE(S)
           2151 MICHELSON DRIVE
           SUITE 255
           IRVINE, CA 92612
           CASTAIC PARTNERS, LLC                               LOAN AGREEMENT
           7541 EADS AVENUE                                    CASTAIC PARTNERS, LLC TAPIA RANCH
           SUITE F
           LA JOLLA, CA 92037
           CASTAIC PARTNERS, LLC                               SECURITY AGREEMENT
           7541 EADS AVENUE                                    CASTAIC PARTNERS, LLC TAPIA RANCH
           SUITE F
           LA JOLLA, CA 92037
           CASTIAC PARTNERS II, LLC ATTN: WILLIAM J. BARKETT   LOAN AGREEMENT
           7541 EADS AVENUE                                    CASTIAC PARTNERS II, LLC
           SUITE F
           LA JOLLA, CA 92037
           CASTIAC PARTNERS III, LLC                           LOAN AGREEMENT
           7541 EADS AVENUE                                    CASTIAC PARTNERS III, LLC
           SUITE F
           LA JOLLA, CA 92037
           CASTIAC PARTNERS III, LLC                           SECURITY AGREEMENT
           7541 EADS AVENUE                                    CASTIAC PARTNERS III, LLC
           SUITE F
           LA JOLLA, CA 92037
           CATAMOUNT MANAGEMENT, LLC                           LOAN AGREEMENT
           4772 FRONTIER WAY                                   FOX HILLS 216, LLC FOX HILLS 73, LLC FOX HILLS 50,
           SUITE 400                                           LLC FOX HILLS 26, LLC FOX HILLS MITIGATION,
           STOCKTON, CA 95215                                  LLC FOX HILLS NURSERY, LLC FOX HILLS FRESNO
                                                               SLOUGH, LLC
           CATAMOUNT MANAGEMENT, LLC                           SECURITY AGREEMENT
           4772 FRONTIER WAY                                   FOX HILLS 216, LLC FOX HILLS 73, LLC FOX HILLS 50,
           SUITE 400                                           LLC FOX HILLS 26, LLC FOX HILLS MITIGATION,
           STOCKTON, CA 95215                                  LLC FOX HILLS NURSERY, LLC FOX HILLS FRESNO
                                                               SLOUGH, LLC



                                                                                                            Page 4 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 22 of 42



        USA Commercial Mortgage Company                                                06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           CHICAGO TITLE COMPANY                             EQUIPMENT LEASE(S)
           110 W TAYLOR ST
           SAN JOSE, CA 95110-2131
           CITICORP VENDOR FINANCE INC                       EQUIPMENT LEASE(S)
           PO BOX 7247-0322
           PHILADELPHIA, PA 19170-0322
           COLT GATEWAY, LLC C/O HOMES FOR AMERICA           LOAN AGREEMENT
           HOLDINGS                                          COLT GATEWAY, LLC
           ONE ODELL PLAZA
           YONKERS, NY 10710
           COLT GATEWAY, LLC C/O HOMES FOR AMERICA           SECURITY AGREEMENT
           HOLDINGS                                          COLT GATEWAY, LLC
           ONE ODELL PLAZA
           YONKERS, NY 10710
           COMVEST CAPITAL SATELLITE ARMS, INC.              LOAN AGREEMENT
           789 S. FEDERAL HIGHWAY                            COMVEST CAPITAL SATELLITE ARMS, INC.
           SUITE 102
           STUART, FL 34994
           COMVEST CAPITAL SATELLITE ARMS, INC.              OTHER
           789 S. FEDERAL HIGHWAY                            COMVEST CAPITAL SATELLITE ARMS, INC.
           SUITE 102
           STUART, FL 34994
           COPPER SAGE COMMERCE CENTER, LLC                  SECURITY AGREEMENT
           8585 E. HARTFORD DRIVE                            COPPER SAGE COMMERCE CENTER, LLC
           SUITE 500
           SCOTTSDALE, AZ 85255
           COPPER SAGE COMMERCE CENTER, LLC                  SECURITY AGREEMENT
           8585 E. HARTFORD DRIVE                            COPPER SAGE COMMERCE CENTER, LLC
           SUITE 500
           SCOTTSDALE, AZ 85255
           CORNMAN TOLTEC 160, LLC C/O UNLIMITED HOLDINGS    LOAN AGREEMENT
           2865 SOUTH JONES BOULEVARD                        CORNMAN TOLTEC 160, LLC
           LAS VEGAS, NV 89146
           CORNMAN TOLTEC 160, LLC C/O UNLIMITED HOLDINGS    SECURITY AGREEMENT
           2865 SOUTH JONES BOULEVARD                        CORNMAN TOLTEC 160, LLC
           LAS VEGAS, NV 89146
           COTTONWOOD HILLS, LLC                             SECURITY AGREEMENT
           8846 EAST DIAMOND RIM DRIVE                       COTTONWOOD HILLS, LLC
           SCOTTSDALE, AZ 85255
           COX COMMUNICATIONS LAS VEGAS, INC.                AGREEMENT
           PO BOX 6059                                       CUSTOMER IS CONVERTING FROM A RESIDENTIAL
           CYPRESS, CA 90630-0059                            ACCOUNT TO A COMMERCIAL ACCOUNT BILLED TO
                                                             EXISTING USA CAPITAL
           DEL VALLE CAPITAL CORPORATION, INC. ISLETON       LOAN AGREEMENT
           1012 10TH STREET                                  DEL VALLE CAPITAL CORPORATION, INC. ISLETON
           MODESTO, CA 95354


                                                                                                       Page 5 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 23 of 42



        USA Commercial Mortgage Company                                                 06-10725-LBR
In re                                                                    Case No.
                    Debtor                                                                 (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           DEL VALLE CAPITAL CORPORATION, INC. ISLETON       SECURITY AGREEMENT
           1012 10TH STREET                                  DEL VALLE CAPITAL CORPORATION, INC. ISLETON
           MODESTO, CA 95354
           DESKTOP SOLUTIONS ART ORDONEZ                     EQUIPMENT LEASE(S)
           2366 N. GLASSELL STREET
           DUITE Q
           ORANGE, CA 92665
           DESKTOP SOLUTIONS                                 EQUIPMENT LEASE(S)
           2366 N. GLASSELL
           #Q
           ORANGE, CA 92865
           ELIZABETH MAY REAL ESTATE, LLC                    LOAN AGREEMENT
           2425 E. CAMELBACK ROAD                            ELIZABETH MAY REAL ESTATE, LLC
           SUITE 950
           PHOENIX, AZ 85016
           ELIZABETH MAY REAL ESTATE, LLC                    SECURITY AGREEMENT
           2425 E. CAMELBACK ROAD                            ELIZABETH MAY REAL ESTATE, LLC
           SUITE 950
           PHOENIX, AZ 85016
           FIESTA DEVELOPMENT, INC.                          LOAN AGREEMENT
           470 E. HARRISON STREET                            FIESTA DEVELOPMENT, INC. BEAUMONT
           ATTN: RICHARD ASHBY
           CORONA, CA 92879
           FIORE PROPERTIES                                  REAL PROPERTY LEASE
           18124 WEDGE PARKWAY #449
           RENO, NV 89511
           FIRST COLONY                                      INSURANCE AGREEMENT
           P.O. BOX 1280
           LYNCHBURG, VA 24505
           FIRST COLONY                                      INSURANCE AGREEMENT
           P.O. BOX 1280
           LYNCHBURG, VA 24505
           FOX HILLS 37, LLC                                 LOAN AGREEMENT
           4772 FRONTIER WAY                                 FOX HILLS 185, LLC FOX HILLS RIVER EAST, LLC FOX
           SUITE 400                                         HILLS 119, LLC FOX HILLS 37, LLC FOX HILLS 62, LLC
           STOCKTON, CA 95215
           FOX HILLS 37, LLC                                 SECURITY AGREEMENT
           4772 FRONTIER WAY                                 FOX HILLS 185, LLC FOX HILLS RIVER EAST, LLC FOX
           SUITE 400                                         HILLS 119, LLC FOX HILLS 37, LLC FOX HILLS 62, LLC
           STOCKTON, CA 95215
           FRANKLIN/STRATFORD INVESTMENTS, LLC               SECURITY AGREEMENT
           8585 E. HARTFORD AVENUE                           FRANKLIN/STRATFORD INVESTMENTS, LLC
           SUITE 500
           SCOTTSDALE, AZ 85255




                                                                                                        Page 6 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 24 of 42



        USA Commercial Mortgage Company                                               06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           GATEWAY STONE ASSOCIATES, LLC                     LOAN AGREEMENT
           2366 PACIFIC COAST HWY, #740                      GATEWAY STONE ASSOCIATES, LLC
           MALIBU, CA 92574
           GATEWAY STONE ASSOCIATES, LLC                     SECURITY AGREEMENT
           2378 PACIFIC COAST HWY, #740                      GATEWAY STONE ASSOCIATES, LLC
           MALIBU, CA 92586
           GENERAL ELECTRIC CAPITAL CORPORATION              EQUIPMENT LEASE(S)
           201 WEST BIG BEAVER ROAD
           TROY, MI 48084
           GLENDALE TOWER PARTNERS, L.P.                     LOAN AGREEMENT
           C/O PARKER AND SOMMERS 505 NORTH BRAND BLVD.      GLENDALE TOWER PARTNERS, L.P.
           SUITE 810
           GLENDALE, CA 91203
           GLENDALE TOWER PARTNERS, L.P.                     SECURITY AGREEMENT
           C/O PARKER AND SOMMERS 505 NORTH BRAND BLVD.      GLENDALE TOWER PARTNERS, L.P.
           SUITE 810
           GLENDALE, CA 91203
           GOLDEN STATE INVESTMENTS II, LP                   LOAN AGREEMENT
           4900 HOPYARD ROAD                                 GOLDEN STATE INVESTMENTS II, LP
           SUITE 202
           PLESANTON, CA 94588
           GRAMMERCY COURT, LTD.                             LOAN AGREEMENT
           1300 POST OAK BLVD                                GRAMMERCY COURT, LTD.
           SUITE 1875
           HOUSTON, TX 77056
           GRAMMERCY COURT, LTD.                             SECURITY AGREEMENT
           1300 POST OAK BLVD                                GRAMMERCY COURT, LTD.
           SUITE 1875
           HOUSTON, TX 77056
           HARBOR GEORGETOWN, LLC                            LOAN AGREEMENT
           1900 S. TELEGRAPH ROAD                            HARBOR GEORGETOWN, LLC
           SUITE 200
           BLOOMFIELD HILLS, MI 48302
           HARBOR GEORGETOWN, LLC                            SECURITY AGREEMENT
           1900 S. TELEGRAPH ROAD                            HARBOR GEORGETOWN, LLC
           SUITE 200
           BLOOMFIELD HILLS, MI 48302
           HARTFORD INSURANCE                                INSURANCE AGREEMENT
           ADDRESS UNAVAILABLE AT TIME OF FILING
           HASPINOV                                          REAL PROPERTY LEASE
           4480 S PECOS RD
           LAS VEGAS, NV 89121
           HEWLETT-PACKARD                                   EQUIPMENT LEASE(S)
           420 MOUNTAIN AVENUE
           P.O. BOX 6
           MURRAY HILL, NJ 7974


                                                                                                       Page 7 of 17
                 Case 06-10725-gwz         Doc 682-8   Entered 06/15/06 23:55:42      Page 25 of 42



        USA Commercial Mortgage Company                                                06-10725-LBR
In re                                                                    Case No.
                    Debtor                                                                 (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
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              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           HFAH CLEAR LAKE, LLC                              LOAN AGREEMENT
           ONE ODELL PLAZA                                   HFAH CLEAR LAKE, LLC
           YONKERS, NY 10702
           HFAH CLEAR LAKE, LLC                              LOAN AGREEMENT
           ONE ODELL PLAZA                                   HFAH CLEAR LAKE, LLC
           YONKERS, NY 10710
           HFAH-MONACO, LLC                                  LOAN AGREEMENT
           ONE ODELL PLAZA                                   HFAH-MONACO, LLC
           YONKERS, NY 10701
           HOUSTON CAUSUALTY COMPANY                         INSURANCE AGREEMENT
           ADDRESS UNAVAILABLE AT TIME OF FILING
           I-40 GATEWAY WEST, LLC                            LOAN AGREEMENT
           P.O. BOX 28216                                    I-40 GATEWAY WEST, LLC
           8585 E. HARTFORD DR., STE 500
           SCOTTSDALE, AZ 85255
           I-40 GATEWAY WEST, LLC                            SECURITY AGREEMENT
           P.O. BOX 28216                                    I-40 GATEWAY WEST, LLC
           8585 E. HARTFORD DR., STE 500
           SCOTTSDALE, AZ 85255
           I-40 GATEWAY WEST, LLC                            SECURITY AGREEMENT
           P.O. BOX 28216                                    I-40 GATEWAY WEST, LLC
           8585 E. HARTFORD DR., STE 500
           SCOTTSDALE, AZ 85255
           IKON FINANCIAL SERVICES                           EQUIPMENT LEASE(S)
           P.O. BOX 9115
           MACON, GA 31208
           IKON FINANCIAL SERVICES                           EQUIPMENT LEASE(S)
           P.O. BOX 9115
           MACON, GA 31208
           INTERSTATE COMMERCE CENTER, LLC                   LOAN AGREEMENT
           19925 NORTH 84TH WAY                              INTERSTATE COMMERCE CENTER, LLC
           SCOTTSDALE, AZ 85255
           INTERSTATE COMMERCE CENTER, LLC                   SECURITY AGREEMENT
           19925 NORTH 84TH WAY                              INTERSTATE COMMERCE CENTER, LLC
           SCOTTSDALE, AZ 85255
           IOS CAPITAL/IKON FINANCIAL SERVICES               EQUIPMENT LEASE(S)
           PO BOX 650073                                     RICOH AF 551COPIER - RENO ACCT # 1047104-1117952
           DALLAS, TX 75265-0073                             SERIAL # H4705600821
           ISCC PHASE II, LLC                                LOAN AGREEMENT
           8585 E. HARTFORD DRIVE                            ISCC PHASE II, LLC
           SUITE 500
           SCOTTSDALE, AZ 85255
           ISCC PHASE II, LLC                                SECURITY AGREEMENT
           8585 E. HARTFORD DRIVE                            ISCC PHASE II, LLC
           SUITE 500
           SCOTTSDALE, AZ 85255

                                                                                                        Page 8 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42       Page 26 of 42



        USA Commercial Mortgage Company                                                 06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                 (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           J. JIREH'S CORPORATION                            LOAN AGREEMENT
           201 N. CHURCH ROAD                                J. JIREH'S CORPORATION
           BENSENVILLE, IL 60106
           J. JIREH'S CORPORATION                            SECURITY AGREEMENT
           201 N. CHURCH ROAD                                J. JIREH'S CORPORATION
           BENSENVILLE, IL 60106
           JOHN E. KING AND CAROLE D. KING                   LOAN AGREEMENT
           285 BRIDGE STREET                                 JOHN E. KING AND CAROLE D. KING
           JOHN E. KING C/O KING VENTURES
           SAN LUIS OBISPO, CA 93401
           JOHN E. KING AND CAROLE D. KING                   SECURITY AGREEMENT
           285 BRIDGE STREET                                 JOHN E. KING AND CAROLE D. KING
           JOHN E. KING C/O KING VENTURES
           SAN LUIS OBISPO, CA 93401
           JOHN E. KING AND CAROLE D. KING                   SECURITY AGREEMENT
           285 BRIDGE STREET                                 JOHN E. KING AND CAROLE D. KING
           JOHN E. KING C/O KING VENTURES
           SAN LUIS OBISPO, CA 93401
           KENNETH E. SCHMIDT                                OTHER
           5200 E. 64TH STREET                               BINFORD MEDICAL DEVELOPERS, LLC
           INDIANAPOLIS, IN 46220
           KENNETH E. SCHMIDT                                OTHER
           5200 E. 64TH STREET                               BINFORD MEDICAL DEVELOPERS, LLC
           INDIANAPOLIS, IN 46220
           KEY EQUIPMENT FINANCE                             EQUIPMENT LEASE(S)
           66 SOUTH PEARL STREET
           P.O. BOX 1339
           ALBANY, NY 12201
           LA HACIENDA ESTATES, LLC                          LOAN AGREEMENT
           5475 LOUIE LANE                                   LA HACIENDA ESTATES, LLC
           SUITE C
           RENO, NV 89511
           LA HACIENDA ESTATES, LLC                          SECURITY AGREEMENT
           5475 LOUIE LANE                                   LA HACIENDA ESTATES, LLC
           SUITE C
           RENO, NV 89511
           LCG GILROY, LLC                                   LOAN AGREEMENT
           1850 SIDEWINDER DRIVE                             LCG GILROY, LLC
           SECOND FLOOR
           PARK CITY, UT 84060
           LERIN HILLS, LTD                                  LOAN AGREEMENT
           4820 BACON ROAD                                   LERIN HILLS, LTD
           SAN ANTONIO, TX 78249
           LERIN HILLS, LTD                                  SECURITY AGREEMENT
           4820 BACON ROAD                                   LERIN HILLS, LTD
           SAN ANTONIO, TX 78249


                                                                                                        Page 9 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 27 of 42



        USA Commercial Mortgage Company                                                 06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                 (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


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                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           LINCOLN BENEFIT                                   INSURANCE AGREEMENT
           P.O. BOX 80469
           LINCOLN, NE 68501
           LINCOLN BENEFIT                                   INSURANCE AGREEMENT
           P.O. BOX 80469
           LINCOLN, NE 68501
           LINDSAY AND CHANDLER HEIGHTS, LLC                 LOAN AGREEMENT
           15555 NORTH 79TH PLACE                            LINDSAY AND CHANDLER HEIGHTS, LLC
           SUITE 200
           SCOTTSDALE, AZ 85260
           LINDSAY AND CHANDLER HEIGHTS, LLC                 SECURITY AGREEMENT
           15555 NORTH 79TH PLACE                            LINDSAY AND CHANDLER HEIGHTS, LLC
           SUITE 200
           SCOTTSDALE, AZ 85260
           LLOYDS OF LONDON UNDERWRITERS                     INSURANCE AGREEMENT
           ADDRESS UNAVAILABLE AT TIME OF FILING
           LOS VALLES LAND & GOLF, LLC                       LOAN AGREEMENT
           233 WILSHIRE BOULEVARD                            LOS VALLES LAND & GOLF, LLC
           SUITE 800
           SANTA MONICA, CA 89121
           LOS VALLES LAND & GOLF, LLC                       SECURITY AGREEMENT
           233 WILSHIRE BOULEVARD                            LOS VALLES LAND & GOLF, LLC
           SUITE 800
           SANTA MONICA, CA 90401
           MARLIN LEASING                                    EQUIPMENT LEASE(S)
           124 GAITHER DRIVE
           SUITE 170
           MOUNT LAUREL, NJ 8054
           MEADOW CREEK PARTNERS, LLC                        LOAN AGREEMENT
           924 STONERIDGE DR.                                MEADOW CREEK PARTNERS, LLC
           STE 1
           BOZEMAN, MT 59718
           MIDVALE MARKETPLACE, LLC                          LOAN AGREEMENT
           1805 EAST RIVER ROAD                              MIDVALE MARKETPLACE, LLC
           TUCSON, AZ 85718
           MS ACQUISITION COMPANY                            LOAN AGREEMENT
           3055 WILSHIRE BLVD.                               MS ACQUISITION COMPANY
           SUITE 1120
           LOS ANGELES, CA 90010
           MS ACQUISITION COMPANY                            SECURITY AGREEMENT
           3055 WILSHIRE BLVD.                               MS ACQUISITION COMPANY
           SUITE 1120
           LOS ANGELES, CA 90010




                                                                                                        Page 10 of 17
                 Case 06-10725-gwz        Doc 682-8      Entered 06/15/06 23:55:42      Page 28 of 42



        USA Commercial Mortgage Company                                                  06-10725-LBR
In re                                                                      Case No.
                    Debtor                                                                   (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


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              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                              NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                   NUMBER OF ANY GOVERNMENT CONTRACT

           MS ACQUISITION COMPANY                              SECURITY AGREEMENT
           3055 WILSHIRE BLVD.                                 MS ACQUISITION COMPANY
           SUITE 1120
           LOS ANGELES, CA 90010
           NEVADA BELL TELEPHONE COMPANY DBA SBC NEVADA AGREEMENT
           2600 CAMINO RAMON                            ORDER TYPE: NEW INSTALL
           RM. 3S303
           SAN RAMON, CA 94853
           OAK MESA INVESTORS, LLC                             LOAN AGREEMENT
           470 E. HARRISON STREET                              OAK MESA INVESTORS, LLC
           CORONA, CA 92879
           OAK MESA INVESTORS, LLC                             SECURITY AGREEMENT
           470 E. HARRISON STREET                              OAK MESA INVESTORS, LLC
           CORONA, CA 92879
           OCEAN ATLANTIC CHICAGO, LLC                         LOAN AGREEMENT
           1800 DIAGONAL ROAD                                  OCEAN ATLANTIC CHICAGO, LLC
           SUITE 425
           ALEXANDRIA, VA 22314
           OCEAN ATLANTIC CHICAGO, LLC                         SECURITY AGREEMENT
           1800 DIAGONAL ROAD                                  OCEAN ATLANTIC CHICAGO, LLC
           SUITE 425
           ALEXANDRIA, VA 22314
           OCEAN ATLANTIC/PFG-WESTBURY, LLC                    LOAN AGREEMENT
           1800 DIAGONAL ROAD                                  OCEAN ATLANTIC/PFG-WESTBURY, LLC
           SUITE 425
           ALEXANDRIA, VA 22314
           OLD CITY, LC & LAKE HELEN PARTNERS, LLC             LOAN AGREEMENT
           4800 N. FEDERAL HIGHWAY                             OLD CITY, LC & LAKE HELEN PARTNERS, LLC
           SUITE A205
           BOCA RATON, FL 33431
           ONE POINT STREET, INC.                              LOAN AGREEMENT
           ONE ODELL PLAZA                                     ONE POINT STREET, INC.
           YONKERS, NY 10701
           OPAQUE LAND DEVELOPMENT, LLC                        AGREEMENT
           2865 SOUTH JONES BOULEVARD
           LAS VEGAS, NV 89146
           P & P ENTERPRISES LIMITED-LIABILITY COMPANY         NON-RESIDENTIAL REAL ESTATE LEASE
           18124 WEDGE PARKWAY
           #449
           RENO, NV 89511
           P&P ENTERPRISES LLC                                 NON-RESIDENTIAL REAL ESTATE LEASE
           18124 WEDGE PARKWAY
           #449
           RENO, NV 89511




                                                                                                          Page 11 of 17
                 Case 06-10725-gwz        Doc 682-8    Entered 06/15/06 23:55:42     Page 29 of 42



        USA Commercial Mortgage Company                                               06-10725-LBR
In re                                                                    Case No.
                    Debtor                                                                (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


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              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           PALM HARBOR ONE, LLC                              LOAN AGREEMENT
           153 ANDOVER STREET                                PALM HARBOR ONE, LLC
           SUITE 104
           DANVERS, MA 01923
           PALM HARBOR ONE, LLC                              SECURITY AGREEMENT
           153 ANDOVER STREET                                PALM HARBOR ONE, LLC
           SUITE 104
           DANVERS, MA 01923
           PECOS PROFESSIONAL PARK                           REAL PROPERTY LEASE
           4484 S PECOS RD
           LAS VEGAS, NV 89121
           PEGASUS-MH VENTURES I, LLC                        LOAN AGREEMENT
           4900 HOPYARD ROAD                                 PEGASUS-MH VENTURES I, LLC
           SUITE 202
           PLEASANTON, CA 94588
           PEGASUS-MH VENTURES I, LLC                        SECURITY AGREEMENT
           4900 HOPYARD ROAD                                 PEGASUS-MH VENTURES I, LLC
           SUITE 202
           PLEASANTON, CA 94588
           PITNEY BOWES, INC.                                EQUIPMENT LEASE(S)
           8001 CHATHAM CENTER DRIVE
           DEPARTMENT LA
           SAVANNAH, GA 31405
           PLACER COUNTY LAND SPECULATORS, LLC               LOAN AGREEMENT
           4484 SOUTH PECOS RD.                              PLACER COUNTY LAND SPECULATORS, LLC
           ATTN: THOMAS RONDEAU
           LAS VEGAS, NV 89121
           PRESERVE AT GALLERIA, LLC                         LOAN AGREEMENT
           9460 DOUBLE R BOULEVARD                           PRESERVE AT GALLERIA, LLC
           SUITE 200
           RENO, NV 89521
           PRINCIPAL LIFE GROUP                              INSURANCE AGREEMENT
           GROUP GRAND ISLAND
           DES MOINES, IA 50306-3513
           RIO RANCHO EXECUTIVE PLAZA, LLC                   LOAN AGREEMENT
           8585 E. HARTFORD DRIVE                            RIO RANCHO EXECUTIVE PLAZA, LLC
           #500
           SCOTTSDALE, AZ 85255
           RIO RANCHO EXECUTIVE PLAZA, LLC                   SECURITY AGREEMENT
           8585 E. HARTFORD DRIVE                            RIO RANCHO EXECUTIVE PLAZA, LLC
           #500
           SCOTTSDALE, AZ 85255
           RIVIERA - HOMES FOR AMERICA HOLDINGS, LLC         LOAN AGREEMENT
           ONE ODELL PLAZA                                   RIVIERA - HFAH, LLC
           YONKERS, NY 10701



                                                                                                       Page 12 of 17
                 Case 06-10725-gwz        Doc 682-8    Entered 06/15/06 23:55:42     Page 30 of 42



        USA Commercial Mortgage Company                                                 06-10725-LBR
In re                                                                   Case No.
                    Debtor                                                                 (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           RIVIERA - HOMES FOR AMERICA HOLDINGS, LLC         SECURITY AGREEMENT
           ONE ODELL PLAZA                                   RIVIERA - HFAH, LLC
           YONKERS, NY 10701
           ROAM DEVELOPMENT GROUP, LP                        LOAN AGREEMENT
           808 TRAVIS STREET                                 ROAM DEVELOPMENT GROUP, LP
           SUITE 2600
           HOUSTON, TX 77002
           S&J ENTERPRISE                                    NON-RESIDENTIAL REAL ESTATE LEASE
           5480 RENO CORPORATE DRIVE
           SUITE 100
           RENO, NV 89521
           SAVANNAH HOMES, LLC                               LOAN AGREEMENT
           9227 HAVEN AVENUE                                 SAVANNAH HOMES, LLC
           SUITE 280
           RANCHO CUCAMONGA, CA 91730
           SAVANNAH HOMES, LLC                               SECURITY AGREEMENT
           9227 HAVEN AVENUE                                 SAVANNAH HOMES, LLC
           SUITE 280
           RANCHO CUCAMONGA, CA 91730
           SBC GLOBAL SERVICES, INC.                         AGREEMENT
           PAYMENT CENTER                                    EXHIBIT TO ADDENDUM NUMBER LONG DISTANCE
           P.O. BOX 989045                                   SERVICES AGREEMENT 950 FLAT RATE
           WEST SACRAMENTO, CA 95798-9045
           SECURITAS                                         AGREEMENT
           4330 PARK TERRACE DRIVE                           BUILDING SECURITY AGREEMENT
           WEST LAKE VILLAGE, CA 91361
           SERGIO DEL CANIZO,S&J ENTERPRISE INVESTMENTS,     NON-RESIDENTIAL REAL ESTATE LEASE
           INC.
           P.O. BOX 461
           NAPA, CA 94559
           SILVER STATE BANK                                 SECURITY AGREEMENT
           170 S. RAINBOW BLVD                               60TH STREET VENTURE, LLC
           LAS VEGAS, NV 89145
           SLADE DEVELOPMENT INC.                            LOAN AGREEMENT
           ATTN: CHAD SLADE                                  SLADE DEVELOPMENT, INC.
           2200 PASEO VERDE PKWY
           STE 380
           HENDERSON, NV 89052-2705
           SLADE DEVELOPMENT INC.                            SECURITY AGREEMENT
           ATTN: CHAD SLADE                                  SLADE DEVELOPMENT, INC.
           2200 PASEO VERDE PKWY
           STE 380
           HENDERSON, NV 89052-2705
           SOUTH MEADOWS OFFICE INVESTORS, LLC               NON-RESIDENTIAL REAL ESTATE LEASE
           9460 DOUBLE R BLVD.
           SUITE 200
           RENO, NV 89521

                                                                                                        Page 13 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 31 of 42



        USA Commercial Mortgage Company                                               06-10725-LBR
In re                                                                    Case No.
                    Debtor                                                                (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE.    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                             DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           SOUTHERN CALIFORNIA LAND DEVELOPMENT, LLC         LOAN AGREEMENT
           28475 OLD TOWN FRONT STREET                       SOUTHERN CALIFORNIA LAND DEVELOPMENT, LLC
           STE D
           TEMECULA, CA 92590
           SOUTHERN CALIFORNIA LAND DEVELOPMENT, LLC         SECURITY AGREEMENT
           28475 OLD TOWN FRONT STREET                       SOUTHERN CALIFORNIA LAND DEVELOPMENT, LLC
           STE D
           TEMECULA, CA 92590
           SOUTHERN CALIFORNIA LAND DEVELOPMENT, LLC         SECURITY AGREEMENT
           28475 OLD TOWN FRONT STREET                       SOUTHERN CALIFORNIA LAND DEVELOPMENT, LLC
           STE D
           TEMECULA, CA 92590
           SPRINT - CENTRAL TELEPHONE COMPANY- NEVADA        AGREEMENT
           DIVISION
           720 WESTERN BLVD
           TARBORO, NC 27886
           SPRINT PCS                                        AGREEMENT
           720 WESTERN BLVD.
           TARBORO, NC 27886
           ST PAUL TRAVELERS                                 INSURANCE AGREEMENT
           CL & SPECIALTY REMITTANCE CENT
           HARTFORD, CT 06183-0001
           STANDARD PROPERTY DEVELOPMENT, LLC                LOAN AGREEMENT
           300 S. ORANGE AVE.                                STANDARD PROPERTY DEVELOPMENT, LLC
           STE. 1000
           ORLANDO, FL 32801
           STANDARD PROPERTY DEVELOPMENT, LLC                SECURITY AGREEMENT
           300 S. ORANGE AVE.                                STANDARD PROPERTY DEVELOPMENT, LLC
           STE. 1000
           ORLANDO, FL 32801
           STERLING NATIONAL BANK                            EQUIPMENT LEASE(S)
           500 SEVENTH AVENUE
           11TH FLOOR
           NEW YORK, NY 10018
           STORAGE WEST                                      AGREEMENT
           2700 EAST FLAMINGO ROAD                           STORAGE SPACE RENTAL
           LAS VEGAS, NV 89121
           SUNRISE INTERNATIONAL, LLC                        LOAN AGREEMENT
           7220 EAST MARY SHARON DRIVE                       SUNRISE INTERNATIONAL, LLC
           SUITE 148
           SCOTTSDALE, AZ 85262
           SUNRISE INTERNATIONAL, LLC                        SECURITY AGREEMENT
           7220 EAST MARY SHARON DRIVE                       SUNRISE INTERNATIONAL, LLC
           SUITE 148
           SCOTTSDALE, AZ 85262



                                                                                                       Page 14 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42        Page 32 of 42



        USA Commercial Mortgage Company                                                 06-10725-LBR
In re                                                                      Case No.
                    Debtor                                                                    (If known)
                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


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              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                               NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                    NUMBER OF ANY GOVERNMENT CONTRACT

           SVRB INVESTMENTS, LLC                               LOAN AGREEMENT
           P.O. BOX 28216                                      SVRB INVESTMENTS, LLC
           SCOTTSDALE, AZ 85255
           SVRB INVESTMENTS, LLC                               SECURITY AGREEMENT
           P.O. BOX 28216                                      SVRB INVESTMENTS, LLC
           SCOTTSDALE, AZ 85255
           SWITCH ACG                                          AGREEMENT
           PO BOX 42250
           LAS VEGAS, NV 89104
           TANAMERA APARTMENT HOMES                            NON-RESIDENTIAL REAL ESTATE LEASE
           900 SOUTH MEADOWS PARKWAY
           APARTMENT #3323
           RENO, NV
           TANAMERA CORPORATE CENTER LLC                       NON-RESIDENTIAL REAL ESTATE LEASE
           5470 RENO CORPORATE DR
           RENO, NV 89511-2250
           TANAMERA CORPORATE CENTER                           NON-RESIDENTIAL REAL ESTATE LEASE
           S&J ENTERPRISE INVESTMENT INC
           PO. BOX 461
           NAPA, CA 94559
           TANAMERA CORPORATE CENTER                           REAL PROPERTY LEASE
           S&J ENTERPRISE INVESTMENT INC
           PO. BOX 461
           NAPA, CA 94559
           TANAMERA CORPORATE CENTER, LLC A NEVADA             NON-RESIDENTIAL REAL ESTATE LEASE
           LIMITED LIABILITY COMPANY BY: DDH FINANCIAL CORP.
           AS MANAGER
           ADDRESS UNAVAILABLE AT TIME OF FILING
           TECHNOLOGY INVESTMENT PARTNERS, LLC                 EQUIPMENT LEASE(S)
           3955 PINNACLE COURT
           SUITE 200
           AUBURN HILLS, MI 48326
           TED GLASRUD ASSOCIATES OF STUART, FL, INC. BY   NON-RESIDENTIAL REAL ESTATE LEASE
           ITS MANAGING AGENT TED GLASRUD ASSOCIATES, INC.
           431 SOUTH SEVENTH STREET
           SUITE 2470
           MINNEAPOLIS, MN 55415
           TEN-NINETY, LTD.                                    LOAN AGREEMENT
           470 EAST HARRISON                                   TEN-NINTY, LTD. AND THE LUCAS FAMILY TRUST
           ATTN: RICHARD ASHBY
           CORONA, CA 92879
           THE GARDENS, LLC (TIMESHARE)                        SECURITY AGREEMENT
           PARLIAMENT PARTNERS 410 NORTH ORANGE                THE GARDENS, LLC (TIMESHARE)
           BLOSSOM TRAIL
           ORLANDO, FL 32801



                                                                                                           Page 15 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 33 of 42



        USA Commercial Mortgage Company                                                 06-10725-LBR
In re                                                                    Case No.
                    Debtor                                                                 (If known)
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                                                                 NUMBER OF ANY GOVERNMENT CONTRACT

           THE GARDENS, LLC                                  LOAN AGREEMENT
           410 NORTH ORANGE BLOSSOM TRAIL                    THE GARDENS, LLC
           PARLIAMENT PARTNERS
           ORLANDO, FL 32801
           THE GARDENS, LLC                                  SECURITY AGREEMENT
           410 NORTH ORANGE BLOSSOM TRAIL                    THE GARDENS, LLC
           PARLIAMENT PARTNERS
           ORLANDO, FL 32801
           THE GARDENS, LLC                                  LOAN AGREEMENT
           PARLIAMENT PARTNERS 410 NORTH ORANGE              THE GARDENS, LLC
           BLOSSOM TRAIL
           ORLANDO, FL 32801
           TOSHIBA AMERICA INFORMATION SYSTEMS, INC          EQUIPMENT LEASE(S)
           201 W. BIG BEAVER RD.
           STE 800
           TROY, MI 48084
           UNIVERSITY ESTATES, INC.                          LOAN AGREEMENT
           1707 71ST STREET NW                               UNIVERSITY ESTATES, INC.
           ATTN: DR. RICHARD CONARD
           BRADENTON, FL 34209
           UNIVERSITY ESTATES, INC.                          SECURITY AGREEMENT
           1707 71ST STREET NW                               UNIVERSITY ESTATES, INC.
           ATTN: DR. RICHARD CONARD
           BRADENTON, FL 34209
           URBAN HOUSING ALLIANCE, LLC                       LOAN AGREEMENT
           505 NORTH BRAND BOULEVARD                         URBAN HOUSING ALLIANCE, LLC
           SUITE 810
           GLENDALE, CA 91203
           URBAN HOUSING ALLIANCE, LLC                       SECURITY AGREEMENT
           505 NORTH BRAND BOULEVARD                         URBAN HOUSING ALLIANCE, LLC
           SUITE 810
           GLENDALE, CA 91203
           USA CAPITAL DIVERSIFIED TRUST DEED FUND           LOAN AGREEMENT
           4484 SOUTH PECOS ROAD
           LAS VEGAS, NV 89121
           USA CAPITAL FIRST TRUST DEED FUND                 LOAN AGREEMENT
           4484 SOUTH PECOS ROAD
           LAS VEGAS, NV 89121
           USA INVESTMENT PARTNERS, LLC                      LOAN AGREEMENT
           4484 SOUTH PECOS RD.                              PLACER COUNTY LAND SPECULATORS, LLC
           LAS VEGAS, NV 89121
           USA INVESTMENT PARTNERS, LLC                      SECURITY AGREEMENT
           4484 SOUTH PECOS RD.                              PLACER COUNTY LAND SPECULATORS, LLC
           LAS VEGAS, NV 89121




                                                                                                        Page 16 of 17
                 Case 06-10725-gwz        Doc 682-8   Entered 06/15/06 23:55:42      Page 34 of 42



        USA Commercial Mortgage Company                                               06-10725-LBR
In re                                                                   Case No.
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           USA INVESTORS VI, LLC                             LOAN AGREEMENT
           4484 SOUTH PECOS ROAD                             USA INVESTORS VI, LLC
           LAS VEGAS, NV 89121
           USA INVESTORS VI, LLC                             SECURITY AGREEMENT
           4484 SOUTH PECOS ROAD                             USA INVESTORS VI, LLC
           LAS VEGAS, NV 89121
           WASCO INVESTMENTS, LLC                            LOAN AGREEMENT
           7541 EADS AVENUE                                  WASCO INVESTMENTS, LLC
           SUITE F
           LA JOLLA, CA 92037
           WASCO INVESTMENTS, LLC                            SECURITY AGREEMENT
           7541 EADS AVENUE                                  WASCO INVESTMENTS, LLC
           SUITE F
           LA JOLLA, CA 92037
           WEST COAST LIFE                                   INSURANCE AGREEMENT
           P.O. BOX 2252
           BIRMINGHAM, AL 35246
           WEST HILL PARK JOINT VENTURE                      LOAN AGREEMENT
           9800 RICHMOND AVENUE                              WEST HILLS PARK JOINT VENTURE
           SUITE 520
           HOUSTON, TX 77042
           WEST HILL PARK JOINT VENTURE                      SECURITY AGREEMENT
           9800 RICHMOND AVENUE                              WEST HILLS PARK JOINT VENTURE
           SUITE 520
           HOUSTON, TX 77042
           ZURICH AMERICAN INSURANCE COMPANY                 INSURANCE AGREEMENT
           ADDRESS UNAVAILABLE AT TIME OF FILING




                                                                                                       Page 17 of 17
              Case 06-10725-gwz                  Doc 682-8           Entered 06/15/06 23:55:42                    Page 35 of 42
In re: USA Commercial Mortgage Company                                                                     Case No. ___06-10725-LBR
                                  Debtor                                                                               (If known)



                                                    SCHEDULE H – CODEBTORS



 Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor
  in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight
year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or
 resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
                     years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate
that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).


       Check this box if debtor has no codebtors




NAME AND ADDDRESS OF CODEBTOR                                                      NAME AND ADDRESS OF CREDITOR

JOSEPH D. MILANOWSKI                                                          1ST CENTENNIAL BANK
8520 CHIQUITA DRIVE                                                           RE EAGLE RANCH RESIDENTIAL, LLC (WINCHESTER
LAS VEGAS, NV 89128                                                           III WOODSIDE LOTS)
                                                                              101 E. REDLANDS BLVD. – SUITE 106
                                                                              REDLANDS, CA 92374
THOMAS A. HANTGES
18 CHALET HILLS TERRACE                                                       1ST CENTENNIAL BANK
HENDERSON, NV 89052                                                           RE EAGLE RANCH RESIDENTIAL, LLC (WINCHESTER
                                                                              III WOODSIDE LOTS)
                                                                              ADDRESS UNAVAILABLE AT TIME OF FILING
USA INVESTMENT PARTNERS, LLC
4484 SOUTH PECOS RD.                                                          AMERICAN EXPRESS
LAS VEGAS, NV 89121                                                           RE USA COMMERCIAL MORT.
                                                                              ADDRESS UNAVAILABLE AT TIME OF FILING

                                                                              BANK OF AMERICA
                                                                              RE USA COMMERCIAL MORT.
                                                                              ADDRESS UNAVAILABLE AT TIME OF FILING

                                                                              BANK OF THE MIDWEST
                                                                              RE ASHBY USA – A&D LOAN FOR 2,000 LOTS IN
                                                                              TEMECULA, CA
                                                                              ADDRESS UNAVAILABLE AT TIME OF FILING

                                                                              CITIBANK
                                                                              RE USA COMMERCIAL MORT.
                                                                              ADDRESS UNAVAILABLE AT TIME OF FILING




                                                                              CITIZENS BUSINESS BANK
                                                                              RE SOUTHERN CALIFORNIA LAND DEVELOPMENT,
                                                                              LLC
                                                                              CONSTRUCTION LOAN DEPT.
         Case 06-10725-gwz     Doc 682-8   Entered 06/15/06 23:55:42   Page 36 of 42
In re: USA Commercial Mortgage Company                           Case No. ___06-10725-LBR
                     Debtor                                                  (If known)



                                 SCHEDULE H – CODEBTORS

                                                701 NORTH HAVEN AVE. 2ND FLOOR
                                                ONTARIO, CA 91764

                                                COMMUNITY BANK OF NEVADA
                                                RE HMA SALES
                                                COMMERCIAL LENDING
                                                400 S. FOURTH ST.
                                                LAS VEGAS, NV 89101

                                                DOWNEY SAVINGS
                                                TRADITIONS @ RORIPAUGH, LLC
                                                3501 JAMBOREE RD.
                                                NEWPORT BEACH, CA 92660

                                                INVESTORS
                                                RE AWARE TM-PERRIS
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                          ND
                                                RE AWARE 2 -PERRIS 492
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE CORNMAN TOLTEC 160, LLC
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE FOOTHILL COMMERCE CENTER
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE SMC/BLDG#1 RTTC
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE FLEUR DE LIS #2
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE FLEUR DE LIS 2ND
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE BAR USA
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE SMCP, LLC
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE FLD DEV.
                                                ADDRESS UNAVAILABLE AT TIME OF FILING
         Case 06-10725-gwz     Doc 682-8   Entered 06/15/06 23:55:42   Page 37 of 42
In re: USA Commercial Mortgage Company                           Case No. ___06-10725-LBR
                     Debtor                                                  (If known)



                                 SCHEDULE H – CODEBTORS


                                                INVESTORS
                                                RE SOUTH MEADOW COMMERCIAL PROPERTY
                                                BUILDING I
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE RCC/PARCEL C-1
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE RENO CORPORATE CENTER
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE SANDHILL BUSINESS CAMPUS
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                INVESTORS
                                                RE RCC/PARCEL G
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                KEYBANK
                                                RE LONGLEY PROFESSIONAL CAMPUS, LLC
                                                3980 HOWARD HUGHES PKWY – SUITE 500
                                                LAS VEGAS, NV 89109

                                                KEYBANK NATIONAL ASSOCIATION
                                                RE TANAMERA / RORIPAUGH II, LLC
                                                #2 PARK PLAZA – SUITE 750
                                                IRVINE, CA 92614

                                                LIBERTY BANK LINE OF CREDIT
                                                RE HMA SALES REVOLVING CREDIT
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                MORTGAGE NEVADA STATE BANK
                                                RE HASPINOV
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                NEVADA STATE BANK
                                                RE USA COMMERCIAL MORT.
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                OHIO SAVINGS BANK
                                                RE RAVENSWOOD APPLE VALLEY, LLC
                                                3333 CONCOURS BUILDING – SUITE 100
                                                ONTARIO, CA 91764



                                                OHIO SAVINGS BANK
                                                RE RAVENSWOOD APPLE VALLEY, LLC
         Case 06-10725-gwz     Doc 682-8   Entered 06/15/06 23:55:42   Page 38 of 42
In re: USA Commercial Mortgage Company                            Case No. ___06-10725-LBR
                     Debtor                                                   (If known)



                                 SCHEDULE H – CODEBTORS

                                                3333 CONCOURS BUILDING – SUITE 100
                                                ONTARIO, CA 91764

                                                OHIO SAVINGS BANK
                                                RE THE VINEYARD INVESTORS, LLC
                                                8920 W. TROPICANA AVE. – SUITE 101
                                                LAS VEGAS, NV 89147

                                                PFF BANK AND TRUST
                                                RE BELLA ROSA – 104 LOTS & RIVER VALLEY MGMT,
                                                INC.
                                                MAJOR LOANS DEPT.
                                                9467 MILLIKEN AVE.
                                                P.O. BOX 2729
                                                RANCHO CUCAMONGA, CA 92629-2729

                                                PFF BANK AND TRUST
                                                RE SAVANNAH HOMES, LLC – 82 LOTS & 84 LOTS IN
                                                VICTORVILLE
                                                MAJOR LOANS DEPT.
                                                9467 MILLIKEN AVE.
                                                P.O. BOX 2729
                                                RANCHO CUCAMONGA, CA 92629-2729

                                                PFF BANK AND TRUST
                                                RE MOUNTAIN VIEW INVESTORS
                                                730 ALHAMBRA – SUITE 208
                                                SACRAMENTO, CA 95816

                                                PFF BANK AND TRUST
                                                RE MOUNTAIN VIEW INVESTORS
                                                730 ALHAMBRA – SUITE 208
                                                SACRAMENTO, CA 95816

                                                PFF BANK AND TRUST
                                                RE MOUNTAIN VIEW INVESTORS
                                                730 ALHAMBRA – SUITE 208
                                                SACRAMENTO, CA 95816

                                                PFF BANK AND TRUST
                                                RE PRESERVE AT GALLERIA, LLC
                                                730 ALHAMBRA – SUITE 208
                                                SACRAMENTO, CA 95816

                                                PFF BANK AND TRUST
                                                RE MOUNTAIN VIEW CAMPUS INVESTORS, LLC
                                                730 ALHAMBRA – SUITE 208
                                                SACRAMENTO, CA 95816




                                                PRIVATE INVESTORS
         Case 06-10725-gwz     Doc 682-8   Entered 06/15/06 23:55:42   Page 39 of 42
In re: USA Commercial Mortgage Company                            Case No. ___06-10725-LBR
                     Debtor                                                   (If known)



                                 SCHEDULE H – CODEBTORS

                                                RE USA COMMERCIAL MORT.
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                PRIVATE INVESTORS
                                                RE INVESTMENT PARTNERS
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                PRIVATE INVESTORS
                                                RE INVESTMENT PARTNERS
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                US BANK N.A.
                                                RE TANAMERA CORPORATE CENTER
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                US BANK N.A.
                                                RE SOUTH MEADOW COMMERCIAL PROPERTY LLC
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                US BANK N.A.
                                                RE LONGLEY TOWN CENTRE, LLC
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                US BANK N.A.
                                                RE CABERNET HIGHLANDS, LLC
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                US BANK N.A.
                                                RE SPARKS GALLERIA INVESTORS, LLC
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                US BANK N.A.
                                                RE USA COMMERCIAL MORT.
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                US BANK N.A.
                                                RE TANAMERA COMMERCIAL DEVELOPMENT, LLC
                                                LOC
                                                2300 W. SAHARA AVE. – SUITE 200
                                                LAS VEGAS, NV 89102

                                                USA COMMERCIAL MORTGAGE
                                                RE HMA SALES
                                                ADDRESS UNAVAILABLE AT TIME OF FILING
         Case 06-10725-gwz     Doc 682-8   Entered 06/15/06 23:55:42   Page 40 of 42
In re: USA Commercial Mortgage Company                           Case No. ___06-10725-LBR
                     Debtor                                                  (If known)



                                 SCHEDULE H – CODEBTORS

                                                VINEYARD BANK
                                                RE SOUTHERN CALIFORNIA LAND DEVELOPMENT
                                                HESPERIA II
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                VINEYARD BANK
                                                RE SOUTHERN CALIFORNIA LAND DEVELOPMENT
                                                HESPERIA II
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                VINEYARD BANK
                                                RE SOUTHERN CALIFORNIA LAND DEVELOPMENT
                                                HESPERIA II
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                VINEYARD BANK
                                                RE SOUTHERN CALIFORNIA LAND DEVELOPMENT
                                                HESPERIA II
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                VINEYARD BANK
                                                RE SOUTHERN CALIFORNIA LAND DEVELOPMENT
                                                HESPERIA II
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                VINEYARD BANK
                                                RE SOUTHERN CALIFORNIA LAND DEVELOPMENT
                                                HESPERIA II
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                VINEYARD BANK
                                                RE TANAMERA/RORIPAUGH LLC
                                                1260 CORONA POINTE COURT
                                                CORONA, CA 92879

                                                WELLS FARGO BANK
                                                RE USA COMMERCIAL MORT.
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                WELLS FARGO BANK
                                                RE USA COMMERCIAL MORT.
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                WRI REALTY INVESTORS
                                                RE RAVENSWOOD APPLE VALLEY LLC
                                                ADDRESS UNAVAILABLE AT TIME OF FILING
         Case 06-10725-gwz     Doc 682-8   Entered 06/15/06 23:55:42   Page 41 of 42
In re: USA Commercial Mortgage Company                           Case No. ___06-10725-LBR
                     Debtor                                                  (If known)



                                 SCHEDULE H – CODEBTORS


                                                WRI REALTY INVESTORS
                                                RE TANAMERA / RORIPAUGH II, LLC
                                                ADDRESS UNAVAILABLE AT TIME OF FILING

                                                WRI REALTY INVESTORS
                                                RE TRADITIONS @ RORIPAUGH LLC
                                                ADDRESS UNAVAILABLE AT TIME OF FILING
Case 06-10725-gwz   Doc 682-8   Entered 06/15/06 23:55:42   Page 42 of 42
